        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 1 of 114                      FILED
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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


WILLIAM BRUCE MARSHALL,                         )
                                                )
      Petitioner,                               )
                                                )       Civil Action Number
vs.                                             )       2:15-CV-1694-AKK
                                                )
JEFFERSON S. DUNN,                              )
Commissioner of the Alabama                     )
Department of Corrections                       )
                                                )
      Respondent.                               )

                            MEMORANDUM OPINION

       William Bruce Marshall, an Alabama death row inmate, has petitioned for a

 writ of habeas corpus under 28 U.S.C. § 2254. Doc. 7. Marshall challenges his 2005

 capital murder conviction and death sentence, contending that a variety of

 constitutional violations require reversal of his conviction and/or sentence. The court

 held an evidentiary hearing regarding two of Marshall’s claims related to alleged

 ineffective assistance of trial counsel, specifically the introduction of mitigation

 evidence and forensic testing of a tissue sample. Docs. 23; 45.

       Marshall’s guilt is not in dispute – he confessed to the murder and led law

 enforcement to the victim’s body. And his allegations of alleged error at the guilt

 phase of his trial are without merit and do not warrant any relief from the underlying

 conviction. However, he is entitled to relief on his allegations related to the failure
                                            1
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 2 of 114




of his trial counsel to present mitigation evidence at the penalty phase of the trial.

As the state trial judge noted during the Rule 32 proceedings, “trial counsel presented

no mitigation evidence during the penalty phase [and] mitigation evidence is

presented during the penalty phase of most capital murder trials.” Vol. 15 at 1004.

Certainly, as the state trial judge noted, trial counsel are not “per se ineffective for

not presenting mitigation evidence.” Id. After all, “no absolute duty exists to

introduce mitigating or character evidence.” Chandler v. United States, 218 F.3d

1305, 1319 (11th Cir. 2000). But, where, as here, the failure to do so was based on

an inadequate investigation and trial counsel overlooked potential mitigation

evidence in their files, their performance rises to the level of unconstitutional

ineffectiveness.

      An attorney representing a capital defendant has an “obligation to conduct a

thorough investigation of the defendant’s background,” Williams v. Taylor, 529 U.S.

362, 396 (2000), “or to make a reasonable decision that makes particular

investigations unnecessary,” Wiggins v. Smith, 539 U.S. 510, 521 (2003) (quotation

and citation omitted). And when counsel fails to “conduct an adequate background

investigation,” Cooper v. Sec'y, Dep't of Corr., 646 F.3d 1328, 1351 (11th Cir.

2011), or declines to pursue “all reasonably available mitigating evidence,” their

assistance may be deemed ineffective, see Wiggins v. Smith, 539 U.S. at 524

(emphasis and citation omitted). Therefore, after careful consideration of the record,


                                           2
           Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 3 of 114




the pleadings, and the applicable provisions of 28 U.S.C. § 2254, the court grants

Marshall’s petition for a writ of habeas corpus, doc. 7, solely as to his claim related

to trial counsel’s failure to adequately investigate and present mitigating evidence at

the penalty phase of his trial. In all other respects, the petition is due to be denied.

                                                 I.

       On April 22, 2005, a grand jury in Jefferson County, Alabama indicted

Marshall on three counts of murder in the death of Alicia Nicole Bentley: (1) Ala.

Code § 13A-5-40(a)(4)—murder in conjunction with an unlawful entry into a

dwelling with the intent to cause assault (Count I); (2) Ala. Code § 13A-5-40(a)(3)—

murder in conjunction with an attempt to engage in forcible sexual intercourse

(Count II); and (3) Ala. Code § 13A-5-40(a)(8)—murder in conjunction with an

attempt to sexually assault a minor (Count III). Vol. 1, Tab 1 at 17-18.1 Erskine

Mathis and Linda Hall represented Marshall at trial. Id. at 7, 54. The jury convicted

Marshall on two counts of capital murder (Counts I and III), and one count of murder

(Count II). Vol. 6, Tab 14 at 735-738. The jury subsequently voted 11 to 1 during

the penalty phase to recommend a sentence of death. Vol. 7, Tab 24 at 808-809. The



       1
          References to the record are designated “(Vol. _ ).” The court will list any page number
associated with the court record by reference to the number in the upper right-hand corner of the
page, if available. Otherwise, the page number will correspond with the number at the bottom of
the page. Additionally, citations to the record will include an easily identifiable tab number close
to the cited material where available. And “ACCA,” which is used throughout this opinion, refers
to the Alabama Court of Criminal Appeals.

                                                 3
           Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 4 of 114




trial court followed the recommendation and sentenced Marshall to death, and the

ACCA affirmed. See Marshall v. State, 992 So. 2d 762 (Ala. Crim. App. 2007). The

Supreme Court of Alabama denied Marshall’s application for certiorari on April 25,

2008, and the United States Supreme Court also denied review. See Marshall v.

Alabama, 555 U.S. 918 (2008).

       On April 23, 2009, Marshall, through new counsel, 2 filed a timely Rule 32

petition for post-conviction relief pursuant to the Alabama Rules of Criminal

Procedure. Vol. 10, Tab 41. Marshall filed an amended petition on July 10, 2009,

Vol. 10, Tab 42, and the State moved to dismiss thereafter, Vol. 11, Tabs 43-44.

Although the trial court summarily dismissed the majority of Marshall’s claims at a

hearing that September, Vol. 12, Tab 46 at 495; Vol. 35, Tab 58, the court also

allowed Marshall to amend some of the claims he raised in his petition. Vol. 10,

Tabs 39 and 40. Thereafter, the court dismissed Marshall’s ineffective assistance

claims related to appellate counsel. Vol. 10, Tab 40 at 29.

       On February 16 and 17, 2010, the circuit court held an evidentiary hearing on

trial counsel’s failure to secure a forensic pathologist to challenge the forcible sexual

intercourse charge (Count 1),3 and to investigate mitigation evidence during the


       2
        Glenn E. Glover, C. Jason Avery, and Tiffany DeGruy filed the Rule 32 petition on behalf
of Marshall. Vol. 10 at 1-2.
       3
        “Dr. Art Shores, a forensic pathologist with the Alabama Department of Forensic
Sciences, testified that he performed an autopsy on the body, which revealed that Alicia had been
strangled to death. Dr. Shores also testified that Alicia had a small vaginal mucosal tear. The tear
                                                 4
           Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 5 of 114




penalty phase of the trial. Vol. 35-38. Two of Marshall’s expert witnesses were

unable to attend the hearing, and the court refused to continue the hearing or allow

counsel to offer the experts’ deposition testimony in evidence. Vol. 35-38. The court

also denied Marshall’s request for his forensic pathologist to examine the wet tissue

samples collected from the victim. Vol. 37 at 391-92. Ultimately, the court denied

the Rule 32 petition, holding, in relevant part, that Marshall had failed to establish

that trial counsel’s failure to hire a forensic pathologist rose to a constitutional

violation under Strickland v. Washington, 466 U.S. 668 (1984), or that counsel’s

investigation into a mitigation case was deficient and prejudicial. Vol. 14, Tab 56.

The ACCA affirmed, Marshall v. State, 182 So. 3d 573 (Ala. Crim. App. 2014), and

the Alabama Supreme Court denied certiorari, Vol. 46, Tab 67.

       Marshall filed this petition for writ of habeas corpus on September 28, 2015,

doc. 1, and an amended petition thereafter. The Respondent filed an answer and

brief, docs. 11 and 12, and Marshall filed a reply, doc. 17. Marshall then moved for

an evidentiary hearing pursuant to 28 U.S.C. §2254(e)(1)-(2), 4 arguing that he did



probably occurred within 24 to 48 hours of Dr. Shores’s examination of the body, which was
conducted on December 30, 2004.” Marshall v. State, 992 So. 2d 762, 767 (Ala. Crim. App. 2007).
Marshall contends that “based on [Dr. Nichol’s] review of the trial testimony, the autopsy report,
and his ‘education, experience, knowledge, background, training and skills, in the field of forensic
pathology, it is [his] opinion that Dr. Shores did not have an adequate foundation for opining that
the genital lesion on [Alicia] occurred 24–48 prior to his examination of [Alicia], because he did
not perform a histological examination of the tissue samples of the lesion.’” Marshall v. State, 182
So. 3d 573, 585 (Ala. Crim. App. 2014).
       4
           28 U.S.C. §2254(e)(2):

                                                 5
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 6 of 114




not receive a full, fair, and complete hearing in state court and that the records of

those proceedings are insufficient to determine the issues in his 2254 habeas petition.

Doc. 16. In support of the motion, Marshall filed an affidavit from Dr. George R.

Nichols, II (forensic pathologist licensed in Kentucky) and testimony from Janet

Vogelslang (clinical social worker and mitigation expert licensed in South Carolina).

      This court granted the motion for a discovery and evidentiary hearing with

respect to two claims. See doc. 23. Using the Section 2254(e)(2) framework, the

court found that Marshall had established that (1) his claims relied on facts

previously unavailable to him despite an exercise of due diligence and (2) the

proffered evidence, if true, would entitle him to habeas relief. Id. (citing 28 U.S.C.

2254(e)(2)). The court subsequently held an evidentiary hearing, and the parties filed

post-hearing briefs, docs. 46; 48; 50.




      If the applicant has failed to develop the factual basis of a claim in State court
      proceedings, the court shall not hold an evidentiary hearing on the claim unless the
      applicant shows that--
      (A) the claim relies on--
             (i) a new rule of constitutional law, made retroactive to cases on collateral
             review by the Supreme Court, that was previously unavailable; or
             (ii) a factual predicate that could not have been previously discovered
             through the exercise of due diligence; and
      (B) the facts underlying the claim would be sufficient to establish by clear and
      convincing evidence that but for constitutional error, no reasonable factfinder
      would have found the applicant guilty of the underlying offense.


                                               6
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 7 of 114




                                        II.

      For general background, the court turns to the ACCA, which explained the

offense, proceedings, and sentence as follows:

      In 2005, Marshall was convicted of two counts of capital murder for the killing
      of his stepdaughter, Alicia Nicole Bentley—one count of murder made capital
      because it occurred during a burglary, see § 13A–5–40(a)(4), Ala.Code 1975,
      and one count of murder made capital because it occurred while Marshall,
      who was over the age of 19 years, sexually abused or attempted to sexually
      abuse Alicia, who was between the ages of 12 and 16 years, see § 13A–5–
      40(a)(8), Ala.Code 1975.1 This Court, on direct appeal, summarized the facts
      underlying Marshall’s convictions as follows:

            Marshall did not deny that he killed 15–year–old Alicia. Indeed, while
            in police custody he confessed to the killing and eventually led police
            to Alicia’s body. His attorneys, however, presented a defense in which
            Marshall attempted to call into question the allegation that he had had
            any kind of sexual contact with Alicia.

                   The evidence adduced at trial tended to show the following facts.
                   On December 28, 2004, Tonya Bentley called the Vestavia Hills
                   Police Department to report that her daughter, Alicia, was
                   missing from their apartment. Tonya Bentley and Marshall had
                   separated in early December 2004. Tonya, Alicia, and Tonya's
                   newborn son had moved from the apartment they had shared with
                   Marshall into an apartment in a different complex. Tonya still
                   had personal belongings at Marshall’s, and her name was on the
                   lease for that apartment.
                   Tonya told police that she believed that Marshall may have
                   known of Alicia’s whereabouts. She based her belief on the fact
                   that she had discovered a videocassette recorder, or VCR, that
                   Alicia had left at the old apartment in a chair in the new
                   apartment when she got home. Tonya was positive that the VCR
                   had not been in the apartment when she left for work that
                   morning. When Tonya called Marshall to ask whether he had
                   seen Alicia that day, however, he denied having come to the
                   apartment.


                                         7
Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 8 of 114




           Further, Tonya and Marshall had spoken earlier that day about
           the possibility of Marshall bringing Tonya the washer and dryer.
           Tonya said that Marshall asked her when she would be home so
           that he could bring the appliances over. He also said he was going
           to rent an appliance dolly to make the move easier.
           After speaking with Tonya, police alerted other law-enforcement
           agencies to be on the lookout for Alicia. Police went to
           Marshall’s apartment, where they could hear the dryer running
           inside, but no one answered the door when they knocked.
           Marshall’s truck was parked outside the apartment, and
           neighbors said that they had seen him go into the apartment but
           had not seen him come back out. Police attempted to call
           Marshall and have neighbors call Marshall, but no one answered
           the telephone inside the apartment.
           Tonya attempted to open the front door with her key, but the lock
           had been changed. The manager of the apartment complex also
           attempted to open the lock with the master key, but that key did
           not work, either. After receiving permission from Tonya to enter
           the apartment, police simultaneously broke down the front and
           back doors to the apartment and found Marshall inside.
           Detective Mike O’Connor of the Vestavia Hills Police
           Department testified that, as police searched the apartment,
           Marshall was handcuffed both for his safety and for the safety of
           the police. Alicia was not found in Marshall’s apartment, and
           O’Connor asked Marshall to come to city hall with him. Marshall
           agreed and the police took him to city hall. O’Connor said that
           he told Marshall that he was not under arrest at that time and
           removed the handcuffs from him before he got into the car.
           O’Connor said that even though Marshall had not been arrested
           at that point, he was advised of his rights pursuant to Miranda v.
           Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966),
           while they were still at the apartment. O’Connor said that he
           advised Marshall of his rights again once they reached his office.
           Marshall signed a waiver-of-rights form and initially denied
           knowing anything about Alicia's whereabouts. O’Connor said
           that he explained to Marshall that he was not under arrest and
           that he was free to leave, but because the doors were broken at
           the apartment, Marshall chose to stay at city hall. O’Connor
           testified that the only place he had for Marshall to stay was in a


                                 8
Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 9 of 114




           cell, but that Marshall only had to ask to leave and he would have
           been free to go that night.
           Police continued to investigate Alicia’s disappearance
           throughout the night of December 28 and into the morning hours
           of December 29, 2004. During their investigation, they
           discovered clothes, shoes, a purse, and a comforter identified as
           Alicia’s in a dumpster at an apartment complex next to the
           apartment complex where Marshall lived. Their investigation
           also showed that Marshall left work and was unaccounted for
           during several hours the afternoon of December 28.
           On the morning of December 29, after finding the comforter,
           clothes, and purse, police got an arrest warrant for Marshall
           based on kidnapping. In addition, law-enforcement officials
           discovered Alicia’s driver’s license and her library card in a
           dumpster at Marshall’s job site. Once police obtained the
           kidnapping warrant, O’Connor said, Marshall was arrested, and
           he was no longer free to leave. Marshall was not questioned again
           until about 1:00 p.m. on the afternoon of December 29.
           Agents from the Federal Bureau of Investigation (‘FBI’) assisted
           the Vestavia Hills Police Department in questioning Marshall.
           When FBI agents interrogated Marshall, they also advised him
           of his Miranda rights. Marshall signed a form indicating that he
           understood his rights. While the agents were questioning
           Marshall the evening of December 29, one day after Alicia had
           been reported missing, Marshall admitted that he ‘had done a
           terrible thing.’ (R. 444.) Agent Scott Keeler of the FBI said that
           Marshall told him he ‘had gotten into a verbal argument with
           Alicia that had become violent and he had struck her in the head
           with his fist.’ (R. 444.) He said he was not sure whether she was
           okay and that he had taken her out in the country and dropped
           her off.
           Marshall rode with law-enforcement officials to an area outside
           Columbiana. After searching off various side roads, Marshall
           was finally able to lead authorities to Alicia’s body. She was
           nude, except for a pair of white socks.
           Dr. Art Shores, a forensic pathologist with the Alabama
           Department of Forensic Sciences, testified that he performed an
           autopsy on the body, which revealed that Alicia had been
           strangled to death. Dr. Shores also testified that Alicia had a
           small vaginal mucosal tear. The tear probably occurred within 24
                                 9
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 10 of 114




                    to 48 hours of Dr. Shores’s examination of the body, which was
                    conducted on December 30, 2004.

             Marshall v. State, 992 So. 2d 762, 765–67 (Ala. Crim. App. 2007). The
             jury, by a vote of 11 to 1, recommended that Marshall be sentenced to
             death. The trial court followed the jury's recommendation and
             sentenced Marshall to death, finding

                    the existence of the following statutory aggravating
                    circumstances: (1) that the capital offense was committed while
                    Marshall was under sentence of imprisonment; (2) that Marshall
                    had previously been convicted of a felony involving the use or
                    threat of violence to the person; and (3) that Marshall was
                    engaged in the commission of a burglary at the time the capital
                    offense was committed.
                    The trial court found no statutory mitigating circumstances
                    existed. It further found that there were no nonstatutory
                    mitigating circumstances.

Marshall, 992 So. 2d at 779 (alterations in original).

                                         III.

       “The habeas statute unambiguously provides that a federal court may issue

the writ to a state prisoner ‘only on the ground that he is in custody in violation of

the Constitution or law or treaties of the United States.’” Wilson v. Corcoran, 562

U.S. 1, 5 (2010) (quoting 28 U.S.C. § 2254(a)). As such, this court’s review is limited

to questions of federal constitutional and statutory law. Claims that turn solely upon

state law principles – e.g. a state court’s “interpretation of its own law or rules” or

“an alleged defect in a collateral proceeding” – fall outside the ambit of this court’s

authority to provide relief under § 2254. See Alston v. Department of Corrections,

610 F.3d 1318, 1326 (11th Cir. 2010) (citations omitted).
                                          10
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 11 of 114




                                               A.

       A habeas petitioner “can seek federal habeas relief only on claims that have

been exhausted in state court.” Medellin v. Dretke, 544 U.S. 660, 666 (2005). In

other words, he is required to present his federal claims to the state court and to

exhaust all of the procedures available in the state court system before seeking relief

in federal court. 28 U.S.C. § 2254(b)(1). That requirement ensures that state courts

are afforded the first opportunity to address federal questions affecting the validity

of state court convictions and, if necessary, correct violations of a state prisoner’s

federal constitutional rights. As the Eleventh Circuit has explained:

       In general, a federal court may not grant habeas corpus relief to a state
       prisoner who has not exhausted his available state remedies. . . .

       Exhaustion of state remedies requires that the state prisoner “fairly
       presen[t]5 federal claims to the state courts in order to give the State the
       opportunity to pass upon and correct alleged violations of its prisoners’
       federal rights.” Duncan v. Henry, 513 U.S. 364, 365 (1995) (citing
       Picard v. Connor, 404 U.S. 270, 275-76 (1971) (internal quotation
       marks omitted). The Supreme Court has written these words:

               [T]hat the federal claim must be fairly presented to the
               state courts . . . . it is not sufficient merely that the federal
               habeas applicant has been through the state courts. . . .
               Only if the state courts have had the first opportunity to
               hear the claim sought to be vindicated in a federal habeas
               proceeding does it make sense to speak of the exhaustion
               of state remedies.

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        The phrases “fairly presented” and “properly exhausted” are synonymous. O’Sullivan v.
Boerckel, 526 U.S. 838, 848 (1999) (observing that the question is “not only whether a prisoner
has exhausted his state remedies, but also whether he has properly exhausted those remedies, i.e.,
whether he has fairly presented his claims to the state courts”) (emphasis in original).
                                               11
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 12 of 114




      Picard, 404 U.S. at 275. See also Duncan, 513 U.S. at 365, 115 S. Ct.
      at 888 (“Respondent did not apprise the state court of his claim that the
      evidentiary ruling of which he complained was not only a violation of
      state law, but denied him the due process of law guaranteed by the
      Fourteenth Amendment.”).

      Thus, to exhaust state remedies fully the petitioner must make the state
      court aware that the claims asserted present federal constitutional
      issues. “It is not enough that all the facts necessary to support the
      federal claim were before the state courts or that a somewhat similar
      state-law claim was made.” Anderson v. Harless, 459 U.S. 4, 5-6
      (1982) (citations omitted).

Snowden v. Singletary, 135 F.3d 732, 735 (11th Cir. 1998) (first and third alterations

and redactions in original) (footnote added).

                                          B.

      The next condition precedent to federal review is the procedural default

doctrine. This requires that Marshall show that he has not procedurally defaulted his

claims by failing to properly raise them for review in the state courts.

                                           1.

      It is well established that if a habeas petitioner fails to raise his federal claim

in the state court system at the time and in the manner dictated by the state’s

procedural rules, the state court can decide the claim is not entitled to a review on

the merits. Stated differently, “the petitioner will have procedurally defaulted on that

claim.” Mason v. Allen, 605 F.3d 1114, 1119 (11th Cir. 2009). The Supreme Court

explained the so-called “procedural default” doctrine as follows:


                                           12
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 13 of 114




       In habeas, the sanction for failing to exhaust properly (preclusion of
       review in federal court) is given the separate name of procedural
       default, although the habeas doctrines of exhaustion and procedural
       default “are similar in purpose and design and implicate similar
       concerns,” Keeney v. Tamayo-Reyes, 504 U.S. 1, 7 (1992). See also
       Coleman v. Thompson, 501 U.S. 722, 731–732, 111 S. Ct. 2546 (1991).
       In habeas, state-court remedies are described as having been
       “exhausted” when they are no longer available, regardless of the reason
       for their unavailability. See Gray v. Netherland, 518 U.S. 152, 161, 116
       S. Ct. 2074, 135 L. Ed. 2d 457 (1996). Thus, if state-court remedies are
       no longer available because the prisoner failed to comply with the
       deadline for seeking state-court review or for taking an appeal, those
       remedies are technically exhausted, ibid., but exhaustion in this sense
       does not automatically entitle the habeas petitioner to litigate his or her
       claims in federal court. Instead, if the petitioner procedurally defaulted
       those claims, the prisoner generally is barred from asserting those
       claims in a federal habeas proceeding. Id., at 162, 116 S. Ct. 2074;
       Coleman, supra, at 744–751, 111 S. Ct. 2546.

Woodford v. Ngo, 548 U.S. 81, 92-93 (2006).

       Generally, if the last state court to examine a claim states clearly and explicitly

that the claim is barred because the petitioner failed to follow state procedural rules,

and that procedural bar provides an adequate and independent state ground for

denying relief,6 then federal review of the claim also is precluded by procedural

default principles. See Coleman v. Thompson, 501 U.S. 722, 731 (1991). As the

Eleventh Circuit put it,

       The federal courts’ authority to review state court criminal convictions
       pursuant to writs of habeas corpus is severely restricted when a

       6
         See Cone v. Bell, 556 U.S. 449, 465 (2009) (“[W]hen a petitioner fails to raise his federal
claims in compliance with relevant state procedural rules, the state court’s refusal to adjudicate the
claim ordinarily qualifies as an independent and adequate state ground for denying federal
review.”).

                                                 13
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 14 of 114




       petitioner has failed to follow applicable state procedural rules in
       raising a claim, that is, where the claim is procedurally defaulted.
       Federal review of a petitioner’s claim is barred by the procedural
       default doctrine if the last state court to review the claim states clearly
       and expressly that its judgment rests on a procedural bar, Harris v.
       Reed, 489 U.S. 255, 263, 109 S. Ct. 1038, 1043, 103 L. Ed. 2d 308
       (1989), and that bar provides an adequate and independent state ground
       for denying relief. See Id. at 262, 109 S. Ct. at 1042-43; Johnson v.
       Mississippi, 486 U.S. 578, 587, 108 S. Ct. 1981, 1987, 100 L. Ed. 2d
       575 (1988). The doctrine serves to ensure petitioners will first seek
       relief in accordance with state procedures, see Presnell v. Kemp, 835
       F.2d 1567, 1578-79 (11th Cir. 1988), cert. denied, 488 U.S. 1050, 109
       S. Ct. 882, 102 L. Ed. 2d 1004 (1989), and to “lessen the injury to a
       State that results through reexamination of a state conviction on a
       ground that a State did not have the opportunity to address at a prior,
       appropriate time.” McCleskey v. Zant, 499 U.S. 467, 111 S. Ct. 1454,
       1470, 113 L. Ed. 2d 517 (1991).

Johnson v. Singletary, 938 F.2d 1166, 1173 (11th Cir. 1991).7

       Federal deference to a state court’s clear finding of procedural default under

its own rules is strong:

       “[A] state court need not fear reaching the merits of a federal claim in
       an alternative holding. Through its very definition, the adequate and
       independent state ground doctrine requires the federal court to honor a
       state holding that is a sufficient basis for the state court’s judgment,
       even when the state court also relies on federal law.” Harris, 489 U.S.
       at 264 n.10, 109 S. Ct. 1038 (emphasis in original). See also Alderman
       v. Zant, 22 F.3d 1541, 1549-51 (11th Cir. 1994) (where a Georgia
       habeas corpus court found that the petitioner’s claims were
       procedurally barred as successive, but also noted that the claims lack
       7
         When the last state court rendering judgment affirms without an explanation, “the federal
court should ‘look through’ the unexplained decision to the last related state-court decision that
does provide a relevant rationale,” and “should then presume that the unexplained decision adopted
the same reasoning.” Wilson v. Sellers, 138 S. Ct. 1188, 1192 (2018). The state can “rebut the
presumption by showing that the unexplained affirmance relied or most likely did rely on different
grounds than the lower state court’s decision, such as alternative grounds for affirmance that were
briefed or argued to the state supreme court or obvious in the record it reviewed.” Id.

                                                14
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 15 of 114




      merit based on the evidence, “this ruling in the alternative did not have
      an effect . . . of blurring the clear determination by the [Georgia habeas
      corpus] court that the allegations was procedurally barred”), cert.
      denied, 513 U.S. 1061, 115 S. Ct. 673, 130 L. Ed. 2d 606 (1994).

Bailey v. Nagle, 172 F.3d 1299, 1305 (11th Cir. 1999) (alterations and emphasis in

original).

      The Supreme Court defines an “adequate and independent” state court

decision as one that “rests on a state law ground that is independent of the federal

question and adequate to support the judgment.” Lee v. Kemna, 534 U.S. 362, 375

(2002) (quoting Coleman v. Thompson, 501 U.S. 722, 729 (1991)) (emphasis in Lee).

The questions of whether a state procedural rule is “independent” of the federal

question and “adequate” to support the state court’s judgment, so as to have a

preclusive effect on federal review of the claim, “is itself a federal question.” Id.

(quoting Douglas v. Alabama, 380 U.S. 415, 422 (1965)).

      To be considered “independent” of the federal question, “the state court’s

decision must rest solidly on state law grounds, and may not be ‘intertwined with an

interpretation of federal law.’” Judd v. Haley, 250 F.3d 1308, 1313 (11th Cir. 2001)

(quoting Card v. Dugger, 911 F.2d 1494, 1516 (11th Cir. 1990)). An example of

intertwining would be when “the State has made application of the procedural bar

depend on an antecedent ruling on federal law, that is, on the determination of

whether federal constitutional error has been committed.” Ake v. Oklahoma, 470

U.S. 68, 75 (1985). Stated differently, if “the state court must rule, either explicitly
                                           15
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 16 of 114




or implicitly, on the merits of the constitutional question” before applying the state’s

procedural rule to a federal constitutional question, then the rule is not independent

of federal law. Id.

      To be considered “adequate” to support the state court’s judgment, the state

procedural rule must be both “firmly established and regularly followed.” Lee v.

Kemna, 534 U.S. at 375 (quoting James v. Kentucky, 466 U.S. 341, 348 (1984)). In

other words, the rule must be “clear [and] closely hewn to” by the state for a federal

court to consider it as adequate. James, 466 U.S. at 346. That does not mean that the

state’s procedural rule must be rigidly applied in every instance, or that occasional

failure to do so will render the rule inadequate. “To the contrary, a [state’s]

discretionary [procedural] rule can be ‘firmly established’ and ‘regularly followed’

– even if the appropriate exercise of discretion may permit consideration of a federal

claim in some cases but not others.” Beard v. Kindler, 558 U.S. 52, 60-61 (2009).

Rather, the adequacy requirement means only that the procedural rule “must not be

applied in an arbitrary or unprecedented fashion.” Judd, 250 F.3d at 1313.

      Thus, in summary, if the procedural rule is not firmly established, or if it is

applied in an arbitrary, unprecedented, or manifestly unfair fashion, it will not be

considered adequate, and the state court decision based upon such a rule can be

reviewed by a federal court. Card, 911 F.2d at 1517. Conversely, if the rule is

deemed adequate, the decision will not be reviewed by this court.


                                           16
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 17 of 114




                                                 2.

       Generally, there are three circumstances in which an otherwise valid state-law

ground will not bar a federal habeas court from considering a constitutional claim

that was procedurally defaulted in state court: (1) where the petitioner demonstrates

that he had good “cause” for not following the state procedural rule, and, that he was

actually “prejudiced” by the alleged constitutional violation; (2) where the state

procedural rule was not “firmly established and regularly followed”; or (3) where

failure to consider the petitioner’s claims will result in a “fundamental miscarriage

of justice.” See Edwards v. Carpenter, 529 U.S. 446, 455 (2000) (Breyer, J.,

concurring). 8

                                                 a.

       “A federal court may still address the merits of a procedurally defaulted claim

if the petitioner can show cause for the default and actual prejudice resulting from

the alleged constitutional violation.” Ward v. Hall, 592 F.3d 1144, 1157 (11th Cir.



       8
         See, e.g., Coleman, 501 U.S. at 749-50 (holding that a state procedural default “will bar
federal habeas review of the federal claim, unless the habeas petitioner can show cause for the
default and prejudice attributable thereto, or demonstrate that failure to consider the federal claim
will result in a fundamental miscarriage of justice”) (citations and internal quotation marks
omitted); Murray v. Carrier, 477 U.S. 478, 496 (1986) (“[W]here a constitutional violation has
probably resulted in the conviction of one who is actually innocent, a federal habeas court may
grant the writ even in the absence of a showing of cause for the procedural default.”); Smith v.
Murray, 477 U.S. 527, 537 (1986) (same); Davis v. Terry, 465 F.3d 1249, 1252 n.4 (11th Cir.
2006) (“It would be considered a fundamental miscarriage of justice if ‘a constitutional violation
has probably resulted in the conviction of one who is actually innocent.’”) (quoting Schlup v. Delo,
513 U.S. 298, 327 (1995) (in turn quoting Murray, 477 U.S. at 496)).

                                                 17
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 18 of 114




2010) (citing Wainwright v. Sykes, 433 U.S. 72, 84-85 (1977)) (emphasis added).

This so-called “cause and prejudice” standard is clearly framed in the conjunctive;

therefore, a petitioner must prove both parts.

      To show “cause,” a petitioner must prove that “some objective factor external

to the defense impeded counsel’s efforts” to raise the claim in the state courts.

Carrier, 477 U.S. at 488.

      Objective factors that constitute cause include “‘interference by
      officials’” that makes compliance with the State’s procedural rule
      impracticable, and “a showing that the factual or legal basis for a claim
      was not reasonably available to counsel.” In addition, constitutionally
      “[i]neffective assistance of counsel . . . [on direct review] is cause.”
      Attorney error short of ineffective assistance of counsel [on direct
      review], however, does not constitute cause and will not excuse a
      procedural default.

McCleskey v. Zant, 499 U.S. 467, 493-94 (1991) (citations omitted) (first alteration

in original, all other alterations added).

      Generally, the constitutional ineffectiveness of post-conviction counsel on

collateral review will not support a finding of cause and prejudice to overcome a

procedural default. Coleman, 501 U.S. at 754. After all, “[t]here is no right to counsel

in state post-conviction proceedings.” Id. at 752 (citing Pennsylvania v. Finley, 481

U.S. 551 (1987); Murray v. Giarratano, 492 U.S. 1 (1989)). But, in two recent

landmark cases, the Supreme Court extended its prior decision in Coleman by

deciding that, as a matter of equity, and, under specific, limited circumstances, errors

by counsel on post-conviction collateral review could establish the necessary
                                             18
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 19 of 114




“cause” to overcome a procedurally defaulted claim. In the first such case, Maples

v. Thomas, 565 U.S. 266 (2012), the Court found that post-conviction counsel’s

gross professional misconduct (e.g., abandonment of the petitioner) severed the

agency relationship between counsel and the petitioner and, thus, established the

necessary “cause” to overcome a procedural default. Id. at 281. And, in Martinez v.

Ryan, 566 U.S. 1 (2012), the Court held that post-conviction counsel’s failure to

raise an ineffective assistance of trial counsel claim at an initial review collateral

proceeding could serve as the necessary “cause” to overcome the procedural default

of that type of claim when the state prohibits it from being raised during the direct

review process. Id. at 11-12.

      In addition to proving the existence of “cause” for a procedural default, a

habeas petitioner must show actual prejudice. He must show “not merely that the

errors at his trial created a possibility of prejudice, but that they worked to his actual

and substantial disadvantage, infecting his entire trial with error of constitutional

dimensions.” United States v. Frady, 456 U.S. 152, 170 (1982) (emphasis added). If

the “cause” is of the type described in Martinez v. Ryan, then the reviewing court

should consider whether the petitioner can demonstrate “that the underlying

ineffective-assistance-of-trial-counsel claim is a substantial one, which is to say that

the prisoner must demonstrate that the claim has some merit.” Martinez, 566 U.S. at




                                           19
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 20 of 114




12-15 (citing for comparison Miller-El v. Cockrell, 537 U.S. 322 (2003) (describing

standards for certificates of appealability to issue)).

                                           b.

      In a “rare,” “extraordinary,” and “narrow class of cases,” a federal court may

consider a procedurally defaulted claim in the absence of a showing of “cause” for

the default if either: (a) a fundamental miscarriage of justice “has probably resulted

in the conviction of one who is actually innocent,” Smith, 477 U.S. at 537-38

(quoting Carrier, 477 U.S. at 496); or (b) the petitioner shows “by clear and

convincing evidence that[,] but for a constitutional error, no reasonable juror would

have found the petitioner eligible for the death penalty.” Schlup, 513 U.S. at 323-27

& n.44 (quoting Sawyer v. Whitley, 505 U.S. 333, 336 (1992)).

                                           C.

      The writ of habeas corpus “has historically been regarded as an extraordinary

remedy.” Brecht v. Abrahamson, 507 U.S. 619, 633 (1993). That is especially true

when federal courts are asked to engage in habeas review of a state court conviction

pursuant to 28 U.S.C. § 2254.

      Direct review is the principal avenue for challenging a conviction.
      “When the process of direct review . . . comes to an end, a presumption
      of finality and legality attaches to the conviction and sentence. The role
      of federal habeas proceedings, while important in assuring that
      constitutional rights are observed, is secondary and limited. Federal
      courts are not forums in which to relitigate state trials.”



                                           20
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 21 of 114




Id. (quoting Barefoot v. Estelle, 463 U.S. 880, 887 (1983)). “Those few who are

ultimately successful [in obtaining federal habeas relief] are persons whom society

has grievously wronged and for whom belated liberation is little enough

compensation.” Fay v. Noia, 372 U.S. 391, 440-41 (1963).

      “Accordingly, . . . an error that may justify reversal on direct appeal will not

necessarily support a collateral attack on a final judgment.” Brecht, 507 U.S. at 634.

That is due to the fact that, under our federal system of government,

      [t]he States possess primary authority for defining and enforcing the
      criminal law. In criminal trials they also hold the initial responsibility
      for vindicating constitutional rights. Federal intrusions into state
      criminal trials frustrate both the States’ sovereign power to punish
      offenders and their good-faith attempts to honor constitutional rights.

Engle v. Isaac, 456 U.S. 107, 128 (1982). “The reason most frequently advanced in

[Supreme Court] cases for distinguishing between direct and collateral review is the

State’s interest in the finality of convictions that have survived direct review within

the state court system.” Brecht, 507 U.S. at 635 (citing Wright v. West, 505 U.S.

277, 293 (1992).

      Congress legislated these principles in the Antiterrorism and Effective Death

Penalty Act of 1996 (“AEDPA”). In several provisions, AEDPA requires federal

courts to give even greater deference to state court determinations of federal




                                          21
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 22 of 114




constitutional claims than before. AEDPA governs Marshall’s petition since he filed

it after AEDPA became law. 9

                                               1.

       Section 2254(e)(1) requires district courts to presume that a state court’s

factual determinations are correct, unless the habeas petitioner rebuts the

presumption with clear and convincing evidence. See 28 U.S.C. § 2254(e)(1). This

provision provides “a highly deferential standard of review for factual

determinations made by a state court.” Fugate v. Head, 261 F.3d 1206, 1215 (11th

Cir. 2001). Put simply, Section 2254(e)(1) “modified a federal habeas court’s role

in reviewing state prisoner applications in order to prevent federal habeas ‘retrials’

and to ensure that state-court convictions are given effect to the extent possible under

law.” Bell v. Cone, 535 U.S. 685, 693 (2002) (citing Williams v. Taylor, 529 U.S.

362, 403-04 (2000)).

       The deference that attends state court findings of fact pursuant to § 2254(e)(1)

applies to all habeas claims, regardless of their procedural stance. Thus, federal

courts must afford a presumption of correctness to a state court’s factual findings,



       9
         See, e.g., McNair v. Campbell, 416 F.3d 1291, 1297 (11th Cir. 2005) (applying AEDPA
to habeas petitions filed after Act’s effective date); Hightower v. Schofield, 365 F.3d 1008, 1013
(11th Cir. 2004) (same). See also Martin v. Hadix, 527 U.S. 343, 356 (1999) (discussing
retroactivity of AEDPA amendments to § 2254). Cf. Lindh v. Murphy, 521 U.S. 320, 327 (1997)
(holding that AEDPA’s amendments do not apply to habeas petitions filed prior to the Act’s
effective date); Johnson v. Alabama, 256 F.3d 1156, 1169 (11th Cir. 2001) (same); Thompson v.
Haley, 255 F.3d 1292, 1295 (11th Cir. 2001) (same).
                                               22
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 23 of 114




even when examining the habeas claim de novo. See Mansfield v. Sec’y, Dep’t of

Corr., 679 F.3d 1301, 1313 (11th Cir. 2012). And, the presumption of correctness

also applies to habeas claims that were adjudicated on the merits by the state court.

Therefore, those claims are subject to the standards of review set out in § 2254(d)(1)

or (d)(2), which the court addresses next.

                                          2.

      “By its terms § 2254(d) bars relitigation of any claim ‘adjudicated on the

merits’ in state court, subject only to the exceptions in §§ 2254(d)(1) and (d)(2).”

Harrington v. Richter, 562 U.S. 86, 98 (2011). It does not matter whether the state

court decision contains a lengthy analysis of the claim or is a summary ruling

“unaccompanied by explanation.” Id. Further, the “backward-looking language” of

AEDPA requires an examination of the state court decision on the date rendered.

Cullen v. Pinholster, 563 U.S. 170 (2011). That is, “[s]tate court decisions are

measured against [the Supreme] Court’s precedents as of ‘the time the state court

renders its decision.’” Id. at 182 (quoting Lockyer v. Andrade, 588 U.S. 63, 71-72

(2003)). Also, “review under § 2254(d)(1) [and (d)(2)] is limited to the record that

was before the state court that adjudicated the claim on the merits.” Id. at 181.

Therefore, a federal habeas court conducting 2254(d) review should not consider

new evidence “in the first instance effectively de novo.” Id. at 182.




                                          23
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 24 of 114




       A closer look at the separate provisions of § 2254(d)(1) and (d)(2) reveals that

when a state court has ruled on a petitioner’s constitutional claim, the petitioner is

entitled to habeas relief only if the court’s adjudication of the claim either:

       (1) resulted in a decision that was contrary to, or involved an
       unreasonable application of, clearly established Federal law, as
       determined by the Supreme Court of the United States; or

       (2) resulted in a decision that was based on an unreasonable
       determination of the facts in light of the evidence presented in the State
       court proceeding.

28 U.S.C. § 2254(d).10 Moreover, the “contrary to” and “unreasonable application”

clauses are “independent statutory modes of analysis.” Alderman v. Terry, 468 F.3d

775, 791 (11th Cir. 2006) (citing Williams, 529 U.S. at 405-07). 11 Therefore, when

considering a state court’s adjudication of a petitioner’s claim, the court must not

conflate the two.



       10
          Section 2254(d)(1)’s reference to “clearly established federal law, as determined by the
Supreme Court of the United States” has been interpreted to reference only “the holdings, as
opposed to the dicta, of [the Supreme Court’s] decisions as of the time of the relevant state-court
decision.” Williams, 529 U.S. at 412 (O’Connor, J., majority opinion) (emphasis added); see also,
e.g., Carey v. Musladin, 549 U.S. 70, 74 (2006) (same); Osborne v. Terry, 466 F.3d 1298, 1305
(11th Cir. 2006) (same); Warren v. Kyler, 422 F.3d 132, 138 (3rd Cir. 2005) (“[W]e do not consider
those holdings as they exist today, but rather as they existed as of the time of the relevant state-
court decision.”) (internal quotation marks and citation omitted).
       11
         See also Williams, 529 U.S. at 404 (“Section 2254(d)(1) defines two categories of cases
in which a state prisoner may obtain federal habeas relief with respect to a claim adjudicated on
the merits in state court. Under the statute, a federal court may grant a writ of habeas corpus if the
relevant state-court decision was either (1) ‘contrary to . . . clearly established Federal law, as
determined by the Supreme Court of the United States,’ or (2) ‘involved an unreasonable
application of . . . clearly established Federal law, as determined by the Supreme Court of the
United States.’”) (emphasis added).

                                                 24
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 25 of 114




                                          a.

      A state court determination can be “contrary to” clearly established Supreme

Court precedent in at least two ways:

      First, a state-court decision is contrary to this Court’s precedent if the
      state court arrives at a conclusion opposite to that reached by this Court
      on a question of law. Second, a state-court decision is also contrary to
      this Court’s precedent if the state court confronts facts that are
      materially indistinguishable from a relevant Supreme Court precedent
      and arrives at a result opposite to ours.

Williams, 529 U.S. at 405. But, Williams does not limit the construction of §

2254(d)(1)’s “contrary to” clause to these two examples. Instead, the statutory

language “simply implies that ‘the state court’s decision must be substantially

different from the relevant precedent of [the Supreme] Court.’” Alderman, 468 F.3d

at 791 (quoting Williams, 529 U.S. at 405).

      And, a state court’s determination of a federal constitutional claim can result

in an “unreasonable application” of clearly established Supreme Court precedent in

either of two ways:

      First, a state-court decision involves an unreasonable application of this
      Court’s precedent if the state court identifies the correct governing legal
      rule from this Court’s cases but unreasonably applies it to the facts of
      the particular state prisoner’s case. Second, a state-court decision also
      involves an unreasonable application of this Court’s precedent if the
      state court either unreasonably extends a legal principle from our
      precedent to a new context where it should not apply or unreasonably
      refuses to extend that principle to a new context where it should apply.

Williams, 529 U.S. at 407.


                                          25
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 26 of 114




       It is important to note that “an unreasonable application of federal law is

different from an incorrect application of federal law.” Williams, 529 U.S. at 410

(emphasis in original). A federal habeas court “may not issue the writ simply because

that court concludes in its independent judgment that the relevant state-court

decision applied clearly established federal law erroneously or incorrectly. Rather,

that application must also be unreasonable.” Id. at 411. In other words, “a federal

habeas court making the ‘unreasonable application’ inquiry should ask whether the

state court’s application of clearly established federal law was objectively

unreasonable.” Id. at 409. The “focus” of the inquiry into the reasonableness of a

state court’s determination of a federal constitutional issue “is on whether the state

court’s application of clearly established federal law is objectively unreasonable,”

and “an unreasonable application is different from an incorrect one.” Bell, 535 U.S.

at 694. 12




       12
          The Eleventh Circuit has observed that § 2254(d)(1)’s “unreasonable application”
provision is the proper statutory lens for viewing the “run-of-the-mill state-court decision applying
the correct legal rule.” Alderman v. Terry, 468 F.3d 775, 791 (11th Cir. 2006).
       In other words, if the state court identified the correct legal principle but
       unreasonably applied it to the facts of a petitioner’s case, then the federal court
       should look to § 2254(d)(1)’s “unreasonable application” clause for guidance. “A
       federal habeas court making the ‘unreasonable application’ inquiry should ask
       whether the state court’s application of clearly established federal law was
       objectively unreasonable.”
Id. (quoting Williams, 529 U.S. at 409).

                                                 26
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 27 of 114




      To demonstrate that a state court’s application of clearly established federal

law was “objectively unreasonable,” the habeas petitioner “must show that the state

court’s ruling on the claim being presented in federal court was so lacking in

justification that there was an error well understood and comprehended in existing

law beyond any possibility for fairminded disagreement.” Harrington v. Richter, 562

U.S. 86, 103 (2011). Stated another way, if the state-court’s resolution of a claim is

debatable among fairminded jurists, it is not objectively unreasonable.

      “By its very language, [the phrase] ‘unreasonable application’ refers to mixed

questions of law and fact, when a state court has ‘unreasonably’ applied clear

Supreme Court precedent to the facts of a given case.” Neelley v. Nagle, 138 F.3d

917, 924 (11th Cir. 1998) (citation and footnote omitted). Mixed questions of

constitutional law and fact are those decisions “which require the application of a

legal standard to the historical-fact determinations.” Townsend v. Sain, 372 U.S. 293,

309 n.6 (1963).

                                         b.

      Section 2254(d)(2) “imposes a ‘daunting standard – one that will be satisfied

in relatively few cases.’” Cash v. Maxwell, 565 U.S. 1138 (2012) (Sotomayor, J.,

respecting denial of certiorari) (quoting Maxwell v. Roe, 628 F.3d 486, 500 (9th Cir.

2010)). As the Supreme Court has noted,

      in related contexts, “[t]he term ‘unreasonable’ is no doubt difficult to
      define.” Williams v. Taylor, 529 U.S. 362, 410, 120 S. Ct. 1495, 146 L.
                                          27
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 28 of 114




      Ed. 2d 389 (2000). It suffices to say, however, that a state-court factual
      determination is not unreasonable merely because the federal habeas
      court would have reached a different conclusion in the first instance.
      Cf. Id., at 411, 120 S. Ct. 1495.

Wood v. Allen, 558 U.S. 290, 301 (2010). Therefore, “even if ‘[r]easonable minds

reviewing the record might disagree’ about the finding in question, ‘on habeas

review that does not suffice to supersede the trial court’s . . . determination.’” Id.

(quoting Rice v. Collins, 546 U.S. 333, 341-42 (2006)) (alteration in original).

Conversely, “when a state court’s adjudication of a habeas claim result[s] in a

decision that [i]s based on an unreasonable determination of the facts in light of the

evidence presented in the state court proceeding, this Court is not bound to defer to

unreasonably-found facts or to the legal conclusions that flow from them.” Adkins

v. Warden, Holman Corr. Facility, 710 F.3d 1241, 1249 (11th Cir. 2013) (quoting

Jones v. Walker, 540 F.3d 1277, 1288 n.5 (11th Cir. 2008) (en banc)) (alterations in

original).

      Section 2254(d)(2) limits the availability of federal habeas relief on any

claims by a state prisoner that are grounded in a state court’s factual findings. To

obtain relief, the petitioner must show that the state court’s findings were “based on

an unreasonable determination of the facts in light of the evidence presented in the

State court proceeding.” 28 U.S.C. § 2254(d)(2). Moreover, § 2254(e)(1) provides

that factual determinations made by a state court are “presumed to be correct,” and

that the habeas petitioner bears “the burden of rebutting the presumption of
                                          28
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 29 of 114




correctness by clear and convincing evidence.” See 28 U.S.C. § 2254(e)(1); Ward,

592 F.3d at 1155 (holding that the presumption of correctness attending a state

court’s findings of fact can be overcome only by clear and convincing evidence).

      “[N]o court has fully explored the interaction of § 2254(d)(2)’s

‘unreasonableness’ standard and § 2254(e)(1)’s ‘clear and convincing evidence’

standard.” Cave v. Sec’y, Dep’t of Corr., 638 F.3d 739, 744-45 (11th Cir. 2011)

(quoting Gore v. Sec’y, Dep’t of Corr., 492 F.3d 1273, 1294 n.51 (11th Cir. 2007)).

Even so, in Ward v. Hall, the Eleventh Circuit clearly held that federal habeas courts

“must presume the state court’s factual findings to be correct unless the petitioner

rebuts that presumption by clear and convincing evidence.” 592 F.3d at 1177 (citing

§ 2254(e)(1); Parker v. Head, 244 F.3d 831, 835-36 (11th Cir. 2001)). Ward also

observed that § 2254(e)(1) “commands that for a writ to issue because the state court

made an ‘unreasonable determination of the facts,’ the petitioner must rebut ‘the

presumption of correctness [of a state court’s factual findings] by clear and

convincing evidence.’” Ward, 592 F.3d at 1155 (alteration in original).

                                         D.

      Federal habeas “exists only to review errors of constitutional dimension.”

McFarland v. Scott, 512 U.S. 849, 856 (1994); see also 28 U.S.C. § 2254(a). Further,

“[w]hen the process of direct review . . . comes to an end, a presumption of finality




                                          29
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 30 of 114




and legality attaches to the conviction and sentence.” Barefoot v. Estelle, 463 U.S.

880, 887 (1983). Two consequences flow from those fundamental propositions.

       First, “[t]he burden of proof in a habeas proceeding is always on the

petitioner.” Hill v. Linahan, 697 F.2d 1032, 1036 (11th Cir. 1983) (citing Henson v.

Estelle, 641 F.2d 250, 253 (5th Cir. 1981)). Stated differently, the habeas petitioner

bears the burden of overcoming the presumption of “legality” that attaches to the

state court conviction and sentence, and of establishing a factual basis demonstrating

that federal post-conviction relief should be granted. See, e.g., 28 U.S.C. § 2254(d)

and (e)(1).13 And, second, the habeas petitioner must meet “heightened pleading

requirements.” McFarland v. Scott, 512 U.S. 849, 856 (1994). The mere assertion

of a ground for relief, without sufficient factual detail, does not satisfy either the

petitioner’s burden of proof under § 2254(e)(1), or the requirements of Rule 2(c) of

the Rules Governing Section 2254 Cases in the United States District Courts. Rule

2(c) requires a state prisoner to “specify all the grounds for relief available to the



       13
          As discussed previously, § 2254(d) provides that the state courts’ adjudication of a habeas
petitioner’s claims can be overturned only if the petitioner carries the burden of demonstrating that
a particular determination either (1) “resulted in a decision that was contrary to, or involved an
unreasonable application of, clearly established Federal law,” or (2) that the ruling “resulted in a
decision that was based on an unreasonable determination of the facts in light of the evidence
presented in the State court proceeding.” Further, § 2254(e)(1) provides that:
       In a proceeding instituted by an application for a writ of habeas corpus by a person
       in custody pursuant to the judgment of a State court, a determination of a factual
       issue made by a State court shall be presumed to be correct. The applicant shall
       have the burden of rebutting the presumption of correctness by clear and convincing
       evidence.

                                                 30
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 31 of 114




petitioner,” and to “state the facts supporting each ground.” Rule 2(c)(1) and (2),

Rules Governing Section 2254 Cases in the United States District Courts. See also

28 U.S.C. § 2242 (stating that an application for writ of habeas corpus “shall allege

the facts concerning the applicant’s commitment or detention”).

        In short, a habeas petitioner must include in his statement of each claim

sufficient supporting facts to justify a decision for the petitioner if the alleged facts

are proven true. See, e.g., Blackledge v. Allison, 431 U.S. 63, 75 n.7 (1977)

(observing that a habeas petition must “state facts that point to a ‘real possibility of

constitutional error’”) (quoting Advisory Committee Notes to Rule 4 of the Rules

Governing Section 2254 Cases in the United States District Courts). And, “[c]itation

of the controlling constitutional, statutory, or other bases for relief for each claim

also should be stated.” 1 Randy Hertz & James S. Liebman, Federal Habeas Corpus

Practice and Procedure § 11.6, at 654 (5th ed. 2005). As another district court has

held:

        It is not the duty of federal courts to try to second guess the meanings
        of statements and intentions of petitioners. Rather the duty is upon the
        individual who asserts a denial of his constitutional rights to come forth
        with a statement of sufficient clarity and sufficient supporting facts to
        enable a court to understand his argument and to render a decision on
        the matter.

Nail v. Slayton, 353 F. Supp. 1013, 1019 (W.D. Va. 1972).




                                            31
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 32 of 114




                                               E.

       The court will discuss ineffective assistance of counsel claims here because

of the relationship between these types of claims, which are governed by a highly

deferential standard of constitutional law, and Section 2254(d), which is itself an

extremely deferential standard of habeas review.

       The “benchmark” standard for determining ineffective assistance is well-

established. 14 The question is whether a trial or appellate attorney provided

representational assistance to a state prisoner that was so professionally incompetent

as to create issues of federal constitutional proportions. In other words, the court

asks, “whether counsel’s conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied upon as having produced a just

result.” Strickland v. Washington, 466 U.S. 668, 686 (1984). If an objective answer

to that question is “yes,” then counsel was constitutionally ineffective.

       Strickland requires a two-step approach:

       A convicted defendant’s claim that counsel’s assistance was so
       defective as to require reversal of a conviction or death sentence has
       two components. First, the defendant must show that counsel’s
       performance was deficient. This requires showing that counsel made
       errors so serious that counsel was not functioning as the “counsel”
       guaranteed the defendant by the Sixth Amendment. Second, the
       defendant must show that the deficient performance prejudiced the
       14
         “There is no constitutional right to an attorney in state post-conviction proceedings.
Consequently, a petitioner cannot claim constitutionally ineffective assistance of counsel in such
proceedings.” Coleman v. Thompson, 501 U.S. 722, 752 (1991). And, federal ineffective assistance
of counsel claims are specifically limited to the performance of attorneys who represented a state
prisoner at trial, or on direct appeal from the conviction. See 28 U.S.C. § 2254(i).
                                               32
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 33 of 114




      defense. This requires showing that counsel’s errors were so serious as
      to deprive the defendant of a fair trial, a trial whose result is reliable.
      Unless a defendant makes both showings, it cannot be said that the
      conviction or death sentence resulted from a breakdown in the
      adversary process that renders the result unreliable.

Id. at 687. The petitioner must satisfy both parts of the Strickland standard: that is,

he bears the burden of proving, by “a preponderance of competent evidence,” that

(1) the performance of his trial or appellate attorney was deficient; and (2) that such

deficient performance prejudiced his defense. Chandler v. United States, 218 F.3d

1305, 1313 (11th Cir. 2000) (en banc). Thus, “[b]ecause both parts of the test must

be satisfied in order to show a violation of the Sixth Amendment, the court need not

address the performance prong if the defendant cannot meet the prejudice prong, or

vice versa.” Holladay v. Haley, 209 F.3d 1243, 1248 (11th Cir. 2000) (citation

omitted).

                                          1.

      “The burden of persuasion is on the petitioner to prove by a preponderance of

the evidence that counsel’s performance was unreasonable.” Stewart v. Sec’y, Dep’t

of Corr., 476 F.3d 1193, 1209 (11th Cir. 2007) (citing Chandler, 218 F.3d at 1313).

To satisfy the performance prong, a defendant must prove that counsel made errors

so serious that counsel was not functioning as the counsel guaranteed by the Sixth

Amendment. Strickland, 466 U.S. at 687. The standard for gauging attorney

performance is “reasonableness under prevailing professional norms.” Id. at 688.


                                          33
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 34 of 114




“The test of reasonableness is not whether counsel could have done something more

or different,” but whether counsel’s performance “fell within the broad range of

reasonable assistance at trial.” Stewart, 476 F.3d at 1209 (citing Chandler, 218 F.3d

at 1313). Furthermore, courts must “recognize that ‘omissions are inevitable, but,

the issue is not what is possible or ‘what is prudent or appropriate, but only what is

constitutionally compelled.’” Id. (quoting Burger v. Kemp, 483 U.S. 776, 794

(1987)). In fact, the Sixth Amendment does not guarantee the very best counsel or

the most skilled attorney, but only an attorney who performed reasonably well within

the broad range of professional norms. “The test has nothing to do with what the best

lawyers would have done. Nor is the test even what most good lawyers would have

done. [Courts] ask only whether some reasonable lawyer at the trial could have acted,

in the circumstances, as defense counsel acted at trial.” White v. Singletary, 972 F.2d

1218, 1220 (11th Cir. 1992).

       The reasonableness of counsel’s performance is judged from the perspective

of the attorney at the time of the alleged error and in light of all the circumstances.15

And

       Under this standard, there are no “absolute rules” dictating what
       reasonable performance is or what line of defense must be asserted.
       [Chandler, 218 F.3d] at 1317. Indeed, as we have recognized,

       15
            See, e.g., Johnson v. Alabama, 256 F.3d 1156, 1176 (11th Cir. 2001) (giving lawyers
“the benefit of the doubt for ‘heat of the battle’ tactical decisions”); Mills v. Singletary, 161 F.3d
1273, 1285-86 (11th Cir. 1998) (noting that Strickland performance review is a “deferential review
of all of the circumstances from the perspective of counsel at the time of the alleged errors”).
                                                 34
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 35 of 114




       “[a]bsolute rules would interfere with counsel’s independence – which
       is also constitutionally protected – and would restrict the wide latitude
       counsel have in making tactical decisions.” Putman v. Head, 268 F.3d
       1223, 1244 (11th Cir. 2001).

Michael v. Crosby, 430 F.3d 1310, 1320 (11th Cir. 2005) (first alteration added,

second alteration in original). Judicial scrutiny of counsel’s performance must be

“highly deferential,” because representation is an art, and an act or omission that is

unprofessional in one case may be sound or even brilliant in another. See Strickland,

466 U.S. at 697. Indeed, reviewing courts “must indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.”

Id. at 689. After all,

       It is all too tempting for a defendant to second-guess counsel’s
       assistance after conviction or adverse sentence, and it is all too easy for
       a court, examining counsel’s defense after it has proved unsuccessful,
       to conclude that a particular act or omission of counsel was
       unreasonable. A fair assessment of attorney performance requires that
       every effort be made to eliminate the distorting effects of hindsight, to
       reconstruct the circumstances of counsel’s challenged conduct, and to
       evaluate the conduct from counsel’s perspective at the time. Because of
       the difficulties inherent in making the evaluation, a court must indulge
       a strong presumption that counsel’s conduct falls within the wide range
       of reasonable professional assistance; that is, the defendant must
       overcome the presumption that, under the circumstances, the
       challenged action might be considered sound trial strategy. There are
       countless ways to provide effective assistance in any given case. Even
       the best criminal defense attorneys would not defend a particular client
       in the same way.

Id. (citations and internal quotation marks omitted).




                                           35
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 36 of 114




      “When reviewing whether an attorney is ineffective, courts should always

presume strongly that counsel’s performance was reasonable and adequate.” Rogers

v. Zant, 13 F.3d 384, 386 (11th Cir. 1994). And, “[b]ased on this strong presumption

of competent assistance, the petitioner’s burden of persuasion is a heavy one:

‘petitioner must establish that no competent counsel would have taken the action that

his counsel did take.’” Stewart, 476 F.3d at 1209 (quoting Chandler, 218 F.3d at

1315) (emphasis added). “Even if many reasonable lawyers would not have done as

defense counsel did at trial, no relief can be granted on ineffectiveness grounds

unless it is shown that no reasonable lawyer, in the circumstances, would have done

so.” Rogers, 13 F.3d at 386.

                                          2.

      “A petitioner’s burden of establishing that his lawyer’s deficient performance

prejudiced his case is also high.” Van Poyck v. Florida Department of Corrections,

290 F.3d 1318, 1322 (11th Cir. 2002). The habeas petitioner “must affirmatively

prove prejudice, because ‘[a]ttorney errors come in an infinite variety and are as

likely to be utterly harmless in a particular case as they are to be prejudicial.’”

Gilreath v. Head, 234 F.3d 547, 551 (11th Cir. 2000) (quoting Strickland, 466 U.S.

at 693) (alteration in original). “It is not enough for the [habeas petitioner] to show

that the errors had some conceivable effect on the outcome of the proceeding.”

Strickland, 466 U.S. at 693. Instead, “[t]he likelihood of a different result must be


                                          36
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 37 of 114




substantial, not just conceivable.” Harrington, 562 U.S. at 111-112 (citing

Strickland, 466 U.S. at 693).

      To prove prejudice, the habeas petitioner “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the results of the proceeding

would have been different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Strickland, 466 U.S. at 694. When that

standard is applied in the context of the death sentence itself, “‘the question is

whether there is a reasonable probability that, absent the errors, the sentencer [i.e.,

in Alabama, the trial court judge] . . . would have concluded that the balance of

aggravating and mitigating circumstances did not warrant death.’” Stewart, 476 F.3d

at 1209 (quoting Strickland, 466 U.S. at 695).

      To satisfy this high standard, a petitioner must present competent evidence

proving “that trial counsel’s deficient performance deprived him of ‘a trial whose

result is reliable.’” Brown v. Jones, 255 F.3d 1272, 1278 (11th Cir. 2001) (quoting

Strickland, 466 U.S. at 687). In other words, “[a] finding of prejudice requires proof

of unprofessional errors so egregious that the trial was rendered unfair and the

verdict rendered suspect.” Johnson, 256 F.3d at 1177 (quoting Eddmonds v. Peters,

93 F.3d 1307, 1313 (7th Cir. 1996) (in turn quoting Kimmelman v. Morrison, 477

U.S. 365, 374 (1986))) (internal quotation marks omitted).




                                           37
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 38 of 114




                                          3.

      State court findings of historical fact made in the course of evaluating a claim

of ineffective assistance of counsel are subject to a presumption of correctness under

28 U.S.C. § 2254(d)(2) and (e)(1). See, e.g., Thompson v. Haley, 255 F.3d 1292,

1297 (11th Cir. 2001). To overcome a state-court finding of fact, the petitioner bears

the burden of proving contrary facts by “clear and convincing evidence.” 28 U.S.C.

§ 2254(e)(1).

      Additionally, under AEDPA, a federal habeas court may grant relief on a

claim of ineffective assistance of counsel only if the state-court determination

involved an “unreasonable application” of the Strickland standard to the facts of the

case. Strickland also requires an assessment of whether counsel’s conduct was

professionally unreasonable. Those two assessments cannot be conflated into one.

See Harrington, 562 U.S. at 101-02. Thus, habeas relief on a claim of ineffective

assistance of counsel can be granted with respect to a claim actually decided by the

state courts only if the habeas court determines that it was “objectively

unreasonable” for the state courts to find that counsel’s conduct was not

“professionally unreasonable.” As the Harrington Court explained:

      “Surmounting Strickland’s high bar is never an easy task.” Padilla v.
      Kentucky, 559 U.S. [356], [371-372], 130 S. Ct. 1473, 1485, 176 L. Ed.
      2d 284 (2010). An ineffective-assistance claim can function as a way
      to escape rules of waiver and forfeiture and raise issues not presented
      at trial, and so the Strickland standard must be applied with scrupulous
      care, lest “intrusive post-trial inquiry” threaten the integrity of the very
                                          38
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 39 of 114




      adversary process the right to counsel is meant to serve. Strickland, 466
      U.S., at 689-690, 104 S. Ct. 2052. Even under de novo review, the
      standard for judging counsel’s representation is a most deferential one.
      Unlike a later reviewing court, the attorney observed the relevant
      proceedings, knew of materials outside the record, and interacted with
      the client, with opposing counsel, and with the judge. It is “all too
      tempting” to “second-guess counsel’s assistance after conviction or
      adverse sentence.” Id., at 689, 104 S. Ct. 2052; see also Bell v. Cone,
      535 U.S. 685, 702, 122 S. Ct. 1843, 152 L. Ed. 2d 914 (2002); Lockhart
      v. Fretwell, 506 U.S. 364, 372, 113 S. Ct. 838, 122 L. Ed. 2d 180
      (1993). The question is whether an attorney’s representation amounted
      to incompetence under “prevailing professional norms,” not whether it
      deviated from best practices or most common custom. Strickland, 466
      U.S., at 690, 104 S. Ct. 2052.

      Establishing that a state court’s application of Strickland was
      unreasonable under § 2254(d) is all the more difficult. The standards
      created by Strickland and § 2254(d) are both “highly deferential,” Id.,
      at 689, 104 S. Ct. 2052; Lindh v. Murphy, 521 U.S. 320, 333, n.7, 117
      S. Ct. 2059, 138 L. Ed. 2d 481 (1997), and when the two apply in
      tandem, review is “doubly” so, Knowles [v. Mirzayance], 556 U.S., at
      [125], 129 S. Ct. at 1420 [(2009)]. The Strickland standard is a general
      one, so the range of reasonable applications is substantial. 556 U.S., at
      [123], 129 S. Ct. at 1420. Federal habeas courts must guard against the
      danger of equating unreasonableness under Strickland with
      unreasonableness under § 2254(d). When § 2254(d) applies, the
      question is not whether counsel’s actions were reasonable. The question
      is whether there is any reasonable argument that counsel satisfied
      Strickland’s deferential standard.

562 U.S. at 105 (alterations added); see also Premo v. Moore, 562 U.S. 115, 121-23

(2011). However, “a federal court may grant relief when a state court has misapplied

a governing legal principle to a set of facts different from those of the case in which

the principle was announced [so long as] the state court’s application [was]




                                          39
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 40 of 114




objectively unreasonable.” Wiggins v. Smith, 539 U.S. at 520-21 (citations and

quotation marks omitted).

                                         IV.

       With these general principles in mind, the court turns now to Marshall’s

claims, A–F, which he maintains entitle him to relief. The court will address the

claims in alphabetical order.

                                          A.

       Marshall contends in Claim A that his trial counsel’s performance at both the

guilt and penalty phases of his trial fell below “an objective standard of

reasonableness” and “was deficient by any measure.” Doc. 7 at 9. The court agrees

in part.

                                          1.

       The court begins with the penalty phase claims. Marshall argues that counsel

failed to investigate his family history, present as mitigation an expert report from a

clinical psychologist, hire a neuropsychologist, properly use expert investigators, or

to present any mitigation evidence during his penalty phase. Doc. 7 at 10-15, 27-38.

Allegedly, “it is probable that additional jurors would have voted to spare Marshall’s

life” had his defense counsel presented mitigation evidence. Id. Because all of these

alleged failures culminate in Marshall’s ultimate argument—that his counsel offered




                                          40
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 41 of 114




the jury no mitigating evidence that could have persuaded them to spare his life—

the court considers these claims together.

                                              a.

      The court declines to adopt the Respondent’s position that Marshall failed to

exhaust several of his ineffective assistance claims by briefing them as penalty phase

rather than guilt phase issues. Docs. 11 at 10, 12, 15, 17, 18; 12 at 31, 32, 35, 36. All

of these claims relate to alleged ineffective assistance for the failure to develop and

present mitigating evidence at both the guilt and penalty phases of trial. Id. Marshall

fairly presented this claim to the state courts. See Vol. 10, Tab 42 at 150; Vol. 44,

Tab 61 at 41-48, 50-51, 54-58; Vol. 45, Tab 65, at 43-44. Also, because a habeas

claim is exhausted if the petitioner presented the substance of the claim to the courts

“despite variations in the … factual allegations urged in its support,”16 the court

disagrees with the Respondent’s contention that Marshall failed to exhaust specific

factual allegations in his mitigation claims. See docs. 11 at 3-7; 12 at 18-19.

                                              b.

      Turning now to the merits of Marshall’s specific claim, “no absolute duty

exists to introduce mitigating or character evidence.” Chandler v. United States, 218

F.3d 1305, 1319 (11th Cir. 2000). But, an attorney representing a capital defendant

has an “obligation to conduct a thorough investigation of the defendant’s

      16
           Picard v. Connor, 404 U.S. 270, 277–78 (1971).

                                              41
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 42 of 114




background.” Williams v. Taylor, 529 U.S. at 396. Thus, the principal concern is not

whether counsel should have presented mitigation evidence; rather it is whether “the

investigation supporting counsel’s decision not to introduce mitigating evidence of

[Marshall’s] background was itself reasonable.” Johnson v. Secretary, DOC, 643

F.3d 907, 931 (11th Cir. 2011).

       The Eleventh Circuit has found ineffective assistance in instances where

attorneys failed to present sufficient mitigating evidence at sentencing.17 The Circuit

has rarely had to address the complete failure to present any mitigation evidence,18

with the most analogous case being Hardwick v. Sec’y, Fla. Dep’t of Corr., 803 F.3d



       17
          See, e.g., Maples v. Comm’r, Alabama Dep’t of Corr., 729 F. App’x 817 (11th Cir. 2018)
(finding petitioner stated facts that, if true, would entitle him to habeas relief where counsel failed
to contact willing family members or investigate records); Daniel v. Commissioner, Alabama Dept.
of Corrections, 822 F.3d 1248 (11th Cir. 2016) (counsel’s failure to investigate or present
mitigation was deficient and prejudicial where mitigating evidence was available); Williams v.
Allen, 542 F.3d 1326 (11th Cir. 2008) (counsel’s failure to follow up on red flags in files counsel
already possessed resulted in mitigating evidence going undiscovered); Hardwick v. Crosby, 320
F.3d 1127 (11th Cir. 2003) (counsel failed to investigate or present mitigating evidence at the
penalty phase regarding petitioner’s mental health, alcohol, drug abuse, erratic behavior,
dysfunctional family life, mental and physical abuse, and suicide attempts); Jackson v. Herring,
42 F.3d 1350 (11th Cir. 1995) (counsel failed to present evidence related to petitioner’s upbringing
at sentencing phase); Cave v. Singletary, 971 F.2d 1513 (11th Cir. 1992) (counsel failed to prepare
for penalty phase or offer willing family member character witnesses); Middleton v. Dugger, 849
F.2d 491 (11th Cir. 1989) (counsel ineffective for failure to seek out or present mitigating evidence
of mental illness and childhood abuse).
       18
          See Wilson v. Warden, Georgia Diagnostic Prison, 898 F.3d 1314, 1322-23 (11th Cir.
2018) (ineffective assistance claim denied where new mitigation evidence petitioner argued should
have been presented at trial was cumulative and a “double-edged sword” that would have hurt his
as much as it helped); Tharpe v. Warden, 834 F.3d 1323, 1335 (11th Cir. 2016) (finding counsel
who interviewed multiple friends and family members but found no evidence of a “troubled or
deprived background . . . undertook a meaningful investigation and thereafter developed a
mitigation strategy in line with what they discovered”).

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      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 43 of 114




541 (11th Cir. 2015). In that trial, despite “having ample information signaling the

existence of potential significant mitigation evidence,” 803 F.3d at 554, the attorneys

(1) failed to obtain any school, medical, mental health, or juvenile justice records, or

any social service records about Hardwick’s foster home placements and abuse; (2)

did not ask their expert or anyone else to investigate or evaluate mitigation evidence

relative to the sentencing phase; and (3) failed “to present any mitigating evidence

to the jury, let alone the powerful mitigating evidence, including Hardwick’s

deprived and abusive upbringing,” id. at 547. In finding counsel’s failure to present

“even the least bit of . . . mitigating evidence” deficient, id. at 559, the Circuit

reasoned that Hardwick’s defense counsel “appeared to have given up on defending

Hardwick and seemingly expended no effort, either in presentation of mitigating

evidence or in understanding mitigation law,” id. at 547.

      In Ferrell v. Hall, the Circuit held that counsel’s performance was deficient

where they “conducted a profoundly incomplete investigation, and [his] judgment

to . . . sharply limit [his] inquiry fell far outside the wide range of professional

competence.” 640 F.3d at 1227. The Circuit found that counsel’s failure to “speak

with any penalty-phase witnesses, or potential witnesses, aside from the parents,

until immediately following the guilt-innocence phase” constituted an unreasonable

investigation, despite evidence that counsel’s investigator interviewed between 40-

45 witnesses about the defendant’s character. Id. at 1228, 1230-31. And, in Williams


                                          43
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 44 of 114




v. Allen, the Circuit found counsel’s investigation unreasonable when they relied

entirely on an account from the petitioner’s mother, leaving them with “an

incomplete and misleading understanding of [his] life history.” 542 F.3d 1326, 1340

(11th Cir. 2008). The Circuit concluded “trial counsel abandoned their investigation

at an unreasonable point, particularly in light of the information about [the

defendant’s] background that the investigation revealed.” Id. at 1341.

      Generally, “thorough investigations are virtually unchallengeable.” Wiggins,

539 U.S. at 522. But when counsel fails to “conduct an adequate background

investigation,” Cooper v. Sec'y, Dep't of Corr., 646 F.3d 1328, 1351 (11th Cir.

2011), or declines to pursue “all reasonably available mitigating evidence,” their

assistance may be deemed ineffective, see Wiggins v. Smith, 539 U.S. at 524.

Notably, the Supreme Court has held that “[s]trategic choices made after less than

complete investigation are reasonable precisely to the extent that reasonable

professional judgments support the limitations on investigation.” Strickland, 466

U.S. at 690–91. Furthermore, counsel “must not overlook evidence of abuse that was

documented extensively in available records.” Morrow v. Warden, 886 F.3d 1138,

1147 (11th Cir. 2018). Such evidence showing the defendant’s background and

character “is relevant because of the belief, long held by this society, that defendants

who commit criminal acts that are attributable to a disadvantaged background . . .

may be less culpable” and such evidence “might well . . . influence[] the jury’s


                                           44
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 45 of 114




appraisal of [a defendant’s] moral culpability.” Porter v. McCollum, 558 U.S. 30, 41

(2009) (citations and quotation marks omitted).

                                             c.

      Even the Rule 32 trial court noted that Marshall’s trial was unusual in that

“trial counsel presented no mitigation evidence during the penalty phase [and]

mitigation evidence is presented during the penalty phase of most capital murder

trials.” Vol. 15 at 1004. And while the trial court correctly stated that trial counsel

are not “per se ineffective for not presenting mitigation evidence,” 19 id., the relevant

inquiry is whether counsel made their rare choice to forego mitigating evidence at

the penalty phase based on an inadequate investigation. As this court stated in its

order granting the evidentiary hearing, though attorneys need not investigate every

evidentiary lead, the decision to limit an investigation “must flow from an informed

judgment.” Doc. 23 at 9 (quoting Harris v. Dugger, 874 F.2d 756, 763 (11th Cir.

1989)).

      To “determine whether trial counsel should have done something more in their

investigation, [the court] first look[s] at what the lawyer[s] did in fact.” Raulerson

v. Warden, 928 F.3d 987, 997 (11th Cir. 2019) (citations and quotation marks

omitted). Marshall’s counsel’s investigation consisted entirely of hiring two

individuals: Alfred Armour, a private investigator charged with finding family

      19
           See Chandler, 218 F.3d at 1319.

                                             45
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 46 of 114




members who might testify on Marshall’s behalf, and Dr. Kimberly Ackerson, a

clinical psychologist who prepared a mitigation report. For her part, Dr. Ackerson

prepared her mitigation report, 20 Vol. 36 at 124-26, based on “(1) information

provided by defense counsel including a summary report dated January 6, 2005 and

prepared by defense counsel; [a] letter from Office of District Attorney addressed to

Seminole County (Florida) dated March 23, 2005; copies of Affidavit of Complaint;

copies of summaries prepared by law enforcement officials; [] Interview of

defendant at the Jefferson County Jail on December 15, 2005” as well as Personality

Assessment Inventory completed by Marshall. Vol. 16 at 1248. Her sole interview

with Marshall lasted for four hours. Id. at 1251.


       20
           The court does not address whether counsel acted ineffectively when they decided not
to use Dr. Ackerson’s report as mitigation for two reasons. First, as the Respondent notes, Marshall
failed to exhaust this claim when he did not raise it before the Rule 32 court. See doc. 11 at 14.
Alternatively, even if Marshall had exhausted the claim, he could not successfully argue that
counsel’s decision met the deficiency prong of Strickland. Though Dr. Ackerson was Marshall’s
sole source of mitigation and her report contained some information that may have proved helpful
to Marshall at sentencing, her report contained several negative conclusions about Marshall,
including that Marshall was “remarkable for antisocial behaviors, substance abuse and narcissistic
personality traits . . . [as well as] a significant history of violence against women, including sexual
aggression.” As the ACCA found:
       Although Dr. Ackerson's report contained information that may have been used in
       mitigation—e.g., information regarding Marshall's childhood and his history of abuse—
       trial counsel determined that they could not use Dr. Ackerson’s information as mitigation
       evidence because “the report could not be submitted a piece at a time. It had to be
       submitted, the whole hog. The whole hog would have killed us. It would have put him in
       the electric chair.” (R2. 131–32.)
Marshall v. State, 182 So. 3d 573, 603 (Ala. Crim. App. 2014). The ACCA reasonably determined
that the decision not to present Ackerson’s report to the jury was a strategic one, and therefore not
deficient under Strickland.


                                                  46
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 47 of 114




      Despite the professional trend at the time to include collateral information

such as school, social service, and medical records in a mitigation report, Vol. 37 at

357-58, counsel did not direct Armour to retrieve school records or social services

records, Vol. 36 at 134, or provide Dr. Ackerson with medical records he had in his

file, id. at 150-51; see Vol. 16 at 1248 (statement from Dr. Ackerson that she did not

base her report on any records). Dr. Ackerson reported:

      [Marshall] described a chaotic and periodically abusive childhood. He
      was approximately five years of age when his biological parents
      divorced and . . . prior to that time there was a great deal of marital
      strife. A short time later [Marshall’s mother] married Dean Johnson . .
      . [who] began drinking heavily and became physically and mentally
      abusive towards family members. [Marshall] specifically recalled
      having been hit by Mr. Johnson on all areas of his body, including the
      face with an assortment of objects including belts and switches. He
      noted further, “It seemed like we were getting whippings all the time”
      and he also acknowledged taking the blame for his younger sister at
      times to prevent her from being “hurt.” Most notable, [Marshall]
      explained that he had been “hit” so many times by his stepfather that
      “it got to the point where I didn’t cry.” He affirmed having runaway
      [sic] from the home at times to avoid the abuse . . .
      [Marshall’s] mother and [stepfather] eventually separated and [she] was
      left financially destitute and with poor prospects for employment, the
      family “moved around a lot.” . . . [Marshall] was approximately
      fourteen years of age when the couple’s divorce was final. At the same
      time of the . . . divorce[,] [Marshall] . . . began displaying problem
      behaviors including truancy, disobedience, destruction of property, and
      physical aggression. It appears around this same time he left the family
      home and moved in with a school friend. According to [Marshall] he
      left home “because [he] was tired of not feeling loved.” A month or two
      later he was “picked up” by a child welfare agency official and was
      transported to a juvenile detention center. He remained in the detention
      center for two to three weeks before being placed in a “boy’s home” in
      Virginia. Until age eighteen he remained at this facility, spending some
      time with a foster family as well . . .
                                          47
         Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 48 of 114




         Following completion of the ninth grade, [Marshall] ceased attending
         school. He claimed to have been enrolled in at lease [sic] fifteen
         different schools during his academic career secondary to numerous
         relocations . . .
         [Marshall] was enlisted in the Army National Guard for approximately
         two years . . .
         He [is] prescribed an antidepressant medication at this time for “sleep.”

Vol. 16 at 1248-51.

                                                 i.

         Lead trial counsel admitted at the Rule 32 hearing that he read Dr. Ackerson’s

report and appreciated the mitigating potential of the background information. Vol.

36 at 131. Still, despite having evidence in the report of potential mitigation

information, including Marshall’s violent and unstable upbringing, counsel declined

to do any further investigation. Id. at 134-35. Basically, he did not seek medical

records, school records, or social services records from Marshall’s childhood, see

id., – records that he admitted he knew may have had some mitigation potential. The

failure to do so is unreasonable because, as the Supreme Court held long before

Marshall’s trial, lawyers representing capital defendants have an “obligation to

conduct a thorough investigation of the defendant’s background.”21 Williams v.

Taylor, 529 U.S. at 396.


    21
        And recently in Andrus v. Texas, 590 U.S. __ , 140 S. Ct. 1875 (2020), the Court granted
relief in part because

              Over and over during the habeas hearing, counsel acknowledged that he did
         not look into or present the myriad tragic circumstances that marked Andrus’ life.
         . . . Counsel uncovered none of that evidence. Instead, he “abandoned [his]
                                                48
         Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 49 of 114




         Moreover, the facts outlined by Dr. Ackerson mirrored those the Eleventh

Circuit has consistently held warranted further investigation. For example, in

Jackson v. Herring, 42 F.3d 1350 (11th Cir. 1995), the Circuit found counsel acted

deficiently where he “had a small amount of information regarding possible

mitigating evidence regarding [the defendant’s] history, but he inexplicably failed to

follow up with further interviews and investigation.” 42 F.3d at 1367. And in Elledge

v. Dugger, 823 F.2d 1439 (11th Cir. 1987), the Circuit found that counsel performed

deficiently when, despite being informed by the defendant about his abusive

background, counsel “did not even interrogate [the defendant’s] family members to

ascertain the veracity of the account or their willingness to testify.” 823 F.2d at

1145. 22 In short, under the prevailing law at the time, counsel provided ineffective


         investigation of [Andrus’] background after having acquired only rudimentary
         knowledge of his history from a narrow set of sources.” Wiggins, 539 U.S., at 524.

               On top of that, counsel “ignored pertinent avenues for investigation of which
         he should have been aware,” and indeed was aware. Porter, 558 U.S., at 40. At
         trial, counsel averred that his review did not reveal that Andrus had any mental-
         health issues. But materials prepared by a mitigation expert well before trial had
         pointed out that Andrus had been “diagnosed with affective psychosis,” a mental
         health condition marked by symptoms such as depression, mood lability, and
         emotional dysregulation . . .

140 S. Ct. at 1882-83 (alterations in original).

    22
       And, albeit after Marshall’s conviction, the Circuit again held that facts similar to those in
Dr. Ackerson’s report were exactly the types of “red flags” that should have prompted counsel to
investigate further. Specifically, in Williams v. Allen, the Circuit found counsel provided
ineffective assistance when they knew the defendant was abused as a child and suffered from
mental health issues, including depression and suicide risk, and yet failed to present this evidence
at the mitigation phase. 542 F.3d 1326, 1340 (11th Cir. 2008). The court noted also that “nothing
in [counsel’s] limited inquiry into Williams’ background . . . suggest[ed] that further investigation
                                                   49
         Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 50 of 114




assistance when they failed to investigate further after receiving Dr. Ackerson’s

report.

                                                ii.

         Counsel’s performance fared no better with the investigator they engaged to

find useful people and information for Marshall’s mitigation case. Vol. 36 at 134-

36. Armour testified at the Rule 32 hearing that he had never previously investigated

family members for a death penalty case. Id. at 211. Marshall’s attorneys instructed

Armour to focus on finding immediate family members that might speak on

Marshall’s behalf. Id. at 213. Though at the time of the Rule 32 hearing Armour

could not recall his efforts in Marshall’s case, the defense file showed that Armour

began by collecting from Marshall a list of names, addresses, and telephone numbers

of family members to contact. Vol. 36 at 209-210. From that list, the only person

with whom Armour made contact was Marshall’s father, who made clear he was not

interested in helping Marshall and that he believed Marshall should face punishment

for the crime. Id. at 211-28. Still, based on Armour’s notes, Marshall’s father

provided Armour the names of other family members and their places of residence.23


would have been fruitless.” Id. And, the Circuit instructed that “[i]n assessing the reasonableness
of an attorney’s investigation, . . . a court must consider not only the quantum of evidence already
known to counsel, but also whether the known evidence would lead a reasonable attorney to
investigate further . . . Strickland does not establish that a cursory investigation automatically
justifies a tactical decision with respect to sentencing strategy.” Id. at 527.
    23
      Armour’s notes from his conversations with Marshall Sr. include several family members’
names and useful information for locating them. He lists:

                                                50
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 51 of 114




Id. Despite admitting that he remembered receiving a list of names, id. at 216-28,

Armour testified that he never called any of them because he was “not . . . able to

contact” them, id. at 228, purportedly due to Marshall, Sr.’s failure to provide

specific contact information for other family members. But Armour’s notes, which

show that Marshall, Sr. provided phone numbers for Tonya Marshall, belie his

contention. Moreover, Armour’s notes reveal that although he managed to locate

Marshall’s brother, Charles Allan Wilkins, id. at 218-19, he failed to contact

Wilkins, Vol. 37 at 259-60. And yet, although he spoke to no one other than Marshall

Sr., Armour stated at the end of his report, “[i]t is the humble opinion of this agent

that Mr. William Marshall, Sr., nor any family member of his family, would provide

any positive input which would help Mr. Marshall during the case.” Vol. 36 at 227.

Critically, Armour admitted at the Rule 32 hearing that Marshall, Sr. did not share

an opinion regarding whether other family members were willing to testify, and that




    •   “Charles Allan-Marshall Wilkins, Brother, Salisbury, North Carolina.” Vol. 36 at 216.
    •   “Beverly Wilkins, Charleston (mom),” along with a note that she had moved near
        Winchester, Virginia. Id. at 219-20.
    •   “Bergeta [sic], sister” Id. at 220-23.
    •   “Tonya Marshall (ex-wife) 68 Wideway, Crossfield, Tennessee 38572,” along with a
        home and cell phone number. Id. at 223.
Armour attributed his inability to locate Marshall’s sister, Berguitta Marshall, to his misspelling
of her name. Id. at 220-23. Although trial counsel had documents containing the correct spelling
of Berguitta’s name and more information on several other family members, Armour testified that
he never saw those documents. Id. at 220-28.

                                                 51
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 52 of 114




he based his opinion that no member would help Marshall on his inability to reach

them. Id. at 227-28.

       For his part, Mathis testified at the Rule 32 hearing that Armour’s

investigation “didn’t get anything that was worthwhile at all . . . that [he] could use.”

Id. at 136. When asked why he never reviewed Armour’s list or did his own follow

up even though he knew Armour had in his file a list of family members and potential

witnesses, Mathis stated simply, “I did not ask for it. I don’t know why.” Id. at 138.

And Mathis testified that he failed to take any further action even though he had read

a supportive letter that Marshall’s brother, Charles Allan Wilkins, sent to Marshall

a month before trial with the brother’s correct address, as well as letters from

Marshall’s ex-wife naming family members available to help in his case.24 Id. at

138-46. As Mathis acknowledged at the Rule 32 hearing, “I knew there was family

out there . . . We did not track them down.” Id.

                                                 iii.

       The ACCA found that Mathis’s reliance on Armour’s investigation was

reasonable, stating:

       Investigator Armour attempted to contact . . . family members for
       purposes of discovery of mitigation evidence, but they were either

       24
           Marshall’s brother testified at the Rule 32 hearing that he was willing and able to testify
on Marshall’s behalf, and had contact information for multiple members who were similarly
willing to aid Marshall through either deposition or trial testimony. Vol. 37 at 259-70. These family
members included Marshall’s niece, Vol. 39 at 111-16, aunt, Vol. 34 at 4987-91, and his
grandmother, id. at 4972-79.

                                                 52
Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 53 of 114




unwilling to assist in Marshall’s defense, did not return telephone calls,
or were unable to be located . . .
At the evidentiary hearing, Mathis testified that Investigator Armour
was tasked with locating family members for mitigation. Mathis stated
that Investigator Armour provided him with a letter, which was
introduced by Marshall during the evidentiary hearing and admitted as
“Petitioner’s Exhibit 3,” and provides:
“During my initial interview with [Marshall], he provided me with a
list of names of family members and friends that might wish to speak
on his behalf at his sentencing hearing. The list of names included
several members of his family that reside outside the State of Alabama.
Many of the addresses and telephone numbers were old and had
change[d] from the time [Marshall] obtained them.”
“I have placed numerous calls to relatives thought to be residing in
Crossville, Tennessee, but was unable to get in contact with any of his
siblings that were listed. After a number of attempts, I was able to
contact Mr. William Marshall, Sr. [, Marshall’s father,] by telephone
on at least three occasions during the course of the investigation.
[Marshall’s father] stated to me during each conversation that he was
aware of the case involving [Marshall. He] also stated to me that it is
an unfortunate circumstance in which [Marshall] was involved in, but
believes that if he did the crime, he needs to do the time.”
“I informed [Marshall’s father] that his son could possible be facing the
death penalty in the State of Alabama. [Marshall’s father] replied that
he loves his son and wish that the events leading up to this point had
not taken place, but believes that if he has to pay for his crime with his
life, that is what he will have to do. [Marshall’s father] stated that he
did not intend to be present at the sentencing hearing for [Marshall,] but
asked that he be kept informed of the status of the disposition of the
case.”
“When asked about the biological mother of [Marshall, Marshall’s
father] stated that they had been divorced for many years and that he
has lost contact with her, but believes that she is located in the State of
Florida. [Marshall’s father] stated that his son was raised by his
biological mother and he felt that the mother did not do a sufficient job
raising him. He could not provide a name the biological mother might
be listed under, and attempts to locate her using the last name Marshall
were unsuccessful.”
“[Marshall’s father] informed me that he does not even know how to
contact the biological brothers and sister of [Marshall] or a step-sister
                                    53
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 54 of 114




      [Marshall] has. He stated that one of his brothers was believed to be
      home at Fort Bragg, North Carolina from military duty in Iraq. A search
      of the Fort Bragg post locator was unable to confirm any member of the
      Fort Bragg community as being a relative of [Marshall.]
      “[Marshall’s father] did mention that [Marshall] ... appeared to have
      had some mental stability issues during his childhood which might have
      contributed to the case involving him in Birmingham. [Marshall’s
      father] provided me with the name an[d] telephone number of the
      physician for [Marshall,] which I contacted and requested a copy of the
      medical records for [Marshall] be sent to your office.”
      “It is the humble opinion of this agent that [Marshall’s father], nor any
      member of his family would provide any positive input to a judge or
      jury that would cause them to see any reason why [Marshall] should
      receive any relief in this case.”

Marshall v. State, 182 So. 3d at 598–99.
      In determining that Marshall’s counsel’s investigation was adequate, the

ACCA stated:

      Initially, we note—just as the circuit court did in its order denying
      Marshall’s Rule 32 petition—that “[t]he circumstances of this case are
      extraordinary. Marshall murdered Alicia Bentley, who was his step-
      daughter. However, because Marshall married his first cousin, Tonya
      Bentley, Alicia was not only Marshall’s step-daughter but also his first
      cousin once removed. Therefore, trial counsel were tasked with
      convincing Marshall's family members to testify for Marshall during
      the penalty phase, where, to do so, would mean testifying in favor of
      the murderer of another one of their family members.

      Trial counsel retained two experts in an effort to obtain mitigation
      evidence, trial counsel spoke with the experts, reviewed their reports,
      determined that family members did not want to participate in the
      presentation of mitigation evidence, and determined that it would be
      detrimental to Marshall to call Dr. Ackerson as a witness during the
      penalty phase of Marshall’s trial. Thus, like Hall, Marshall’s trial
      counsel was not ineffective for relying on Dr. Ackerson and
      Investigator Armour to investigate mitigation evidence. Investigator
      Armour attempted to contact those family members for purposes of

                                           54
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 55 of 114




      discovery of mitigation evidence, but they were either unwilling to
      assist in Marshall’s defense, did not return telephone calls, or were
      unable to be located. Although Mathis testified that he believed that
      Investigator Armour’s assessment that the family members would be
      unwilling to assist during trial was correct, Mathis attempted, during
      trial, to persuade Marshall’s sister, Berguitta Marshall, to testify on
      Marshall’s behalf, but—just as Investigator Armour concluded—
      Berguitta was unwilling to help. Additionally, Mathis testified that he
      spoke with Marshall about his family’s unwillingness to assist in the
      proceedings, and no evidence was presented indicating that Marshall
      provided trial counsel with any further information about people he
      wanted trial counsel to contact to assist in his defense.

Id. at 600-603.
      This assessment, however, is based on a set of facts that is at best incomplete.

To begin, only one family member, Marshall, Sr. – rather than multiple family

members – refused to help. Other than Marshall, Sr., no other family members

received notice from counsel or from Armour that they could testify on Marshall’s

behalf. And, while Armour stated in his letter to counsel that he could not reach the

persons Marshall gave him due to incorrect contact information, he neglected to

point out that Marshall, Sr. also gave him names and contact information and that he

failed to contact this second set of individuals. Vols. 36 at 216-28; 37 at 259-60. The

court recognizes that lawyers generally cannot and should not try to do everything

on their own. Indeed, counsel should in fact rely on other professionals on their team

to help them provide adequate representation for their clients. But, counsel must not

blindly rely on their team. And where, as here, counsel knew that at least one person,

Marshall’s brother, had reached out to Marshall and was willing to help, see Vol. 36

                                          55
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 56 of 114




at 143, this fact should have provided counsel good cause to doubt Armour’s

contention and to do their own follow up.

       Similarly, while Berguitta Marshall indeed expressed an unwillingness to

testify, the ACCA overlooked that counsel approached her for the first time during

the trial at the courthouse. Vol. 37 at 289-91. Berguitta testified at the Rule 32

hearing that counsel never contacted her before that day at the trial. Id. And she

added that when she traveled to Alabama for the trial, she had no idea that she was

even allowed to testify, and she refused to get on the stand when asked because she

“wasn’t prepared,” and “hadn’t had any phone calls from [her brother’s] attorney to

prepare [her] for anything [she] needed to say, or what was going to go on in the

courtroom.” Id. at 290. Berguitta testified that “if [she] had been prepared or

contacted before the day of trial, . . . [she] would . . . have been willing” to testify at

the trial. Id. at 291. Put simply, her decision not to testify was not made out of malice,

and proper efforts undertaken by counsel prior to the trial may have yielded a

different response.

       And Berguitta was not the only one. At the Rule 32 hearing, five other

members of Marshall’s immediate and extended family provided testimony or

depositions for Marshall, including his brother, who had written him before the trial,

Vol. 37 at 259-60, and his mother, Beverley Charlton, id. at 315-18. See also vol. 34

at 4972-91; vol. 39 at 111-16. Marshall also presented affidavits and depositions


                                            56
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 57 of 114




from his foster parents, Marlene Scott, Vol. 34 at 4998-5000, and Gerald Scott, Vol.

35 at 5008-5011, and the director of the children’s home where he lived as an

adolescent, Louise Huffstuttler, Vol. 39 at 106-10. These individuals testified or

attested that neither Marshall’s counsel nor investigator Armour contacted them

about testifying on Marshall’s behalf. Each claimed they would have testified for

Marshall if asked.25

                                                iv.

       Foundational to the ACCA’s assessment of Marshall’s counsel’s investigation

and the purported unwillingness of Marshall’s family to help was the intermingled

family relationships between Marshall’s family and the victim’s. Missing from the

ACCA’s assessment however is the failure to analyze whether Marshall’s counsel

made a reasonable effort to engage these family members before trial and if they




       25
           The Respondent argues that even Marshall saw little value in continuing to contact
family, stating in their brief that when Mathis informed Marshall of his difficulties in contacting
his family, “Marshall ‘figured if [his family] didn’t care anymore about their son than to contact
his lawyer when he’s charged with capital murder, he sure as hell didn’t need to contact them.’”
Doc. 12 at 20-21 (citing Vol 45, Tab. 65 at 24) (emphasis added). But it was counsel, rather than
Marshall, who “figured . . . he sure as hell didn’t need to contact” Marshall’s family. Vol. 36 at
130 (“I recall talking to Bruce about the fact that his family didn’t want to have anything to do
with him. That they knew what was going on and they knew where he was. I figured if they didn’t
care anymore about their son than to contact his lawyer when he’s charged with capital murder, I
sure as hell didn’t need to contact them”). The Supreme Court has held that a clear instruction
from a capital defendant to his counsel not to present mitigating evidence can relieve the attorneys
of ineffective assistance charges. Schriro v. Landrigan, 550 U.S. 465, 476 (2007) (reasoning that
the client would likely obstruct any efforts by the attorneys to admit such evidence). However, the
statement here by counsel does not rise to the clear instruction from the defendant contemplated
in Schriro.

                                                57
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 58 of 114




repeatedly rebuffed him. If the facts showed this, this relationship may be more

relevant to the inquiry of ineffective assistance. But Marshall’s counsel did not

engage in an adequate investigation, and unreasonably relied on his investigator even

though counsel had facts that questioned the veracity of the investigator’s report.

Therefore, the ACCA was unreasonable in their assumption “that the trial counsel’s

investigation was adequate . . . without considering the reasonableness of counsel’s

decision to limit the scope of their inquiry.” Daniel v. Commissioner, Alabama Dept.

of Corrections, 822 F.3d 1248, 1272 (11th Cir. 2016).

      In the end, “counsel chose to abandon their investigation at an unreasonable

junction, making a fully informed decision with respect to sentencing strategy

impossible.” Wiggins, 539 U.S. at 527. And by adopting counsel’s post-hoc

rationalization of why they were unable to turn up mitigating evidence without

considering the other evidence presented at the Rule 32 hearing, the ACCA engaged

in an unreasonable application of clearly established law to the facts in this case.

Once a federal court determines that a state court decision is unreasonable

under § 2254(d), it is “unconstrained by § 2254’s deference and must undertake a de

novo review of the record.” Adkins v. Warden, Holman CF, 710 F.3d 1241, 1255

(11th Cir. 2013) (quotation omitted).




                                         58
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 59 of 114




                                               v.

       Marshall’s counsel also failed to uncover any documentation of Marshall’s

adult life, including military records, probation records, and medical records. Vol 36

at 150-54. The Constitution requires that the trial court and the jury consider “as a

mitigating factor, any aspect of a defendant’s character or record and any of the

circumstances of the offense that the defendant proffers as a basis for a sentence less

than death.” Lockett v. Ohio, 438 U.S. 586, 604 (1978). Any reasonable attorney

would have obtained complete and accurate records regarding Marshall’s medical,

education, employment, and family history. Borden v. Allen, 646 F.3d 785, 801–02

(11th Cir. 2011) (citing Woodson v. North Carolina, 428 U.S. 280 (1976)). In fact,

here, counsel’s investigator actually provided the medical records to counsel. Vol.

36 at 150-54. And, had Marshall’s counsel reviewed the medical records secured by

Armour and performed even a cursory investigation into Marshall’s physical

conditions, counsel would have discovered that Marshall suffered from two medical

conditions, sleep apnea and a thyroid condition, id., both of which purportedly have

cognitive and emotional effects, Vol. 37 at 343-350, 26 and which may have

supported Marshall’s contention for a sentence less than death.



       26
          At the Rule 32 hearing, Dr. Carol Walker, an expert in the field of neuropsychology,
testified that Marshall’s thyroid condition, Graves’ disease, causes emotional and cognitive
symptoms including agitation, executive dysfunction, and significant anxiety, as well as negative
impacts on judgment and impulse control. Vol. 37 at 336, 344-48. Dr. Walker explained that
Marshall’s severe obstructive sleep apnea could also cause psychological and emotional problems.
                                               59
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 60 of 114




       Perhaps recognizing trial counsel’s failures, the Respondent asserts that these

medical and psychological challenges did not “support an insanity defense.” Doc.

12 at 36. True, indeed. But, Marshall never alleged an insanity defense. And, the

Respondent overlooks that the Supreme Court has noted, “the sentencer in capital

cases must be permitted to consider any relevant mitigating factor.” Porter, 558 U.S.

at 42 (citation omitted). Consequently, in Porter, the Court found that the Florida

Supreme Court was “not reasonable to discount entirely the effect [mental health

evidence] might had had on the jury or the sentencing judge” simply because it did

not “rise to the level of establishing a statutory mitigative circumstance.” Id. at 42-

43 The same is true here—Marshall’s trial counsel should have presented the

evidence to the jury for the jury to consider its mitigating effect, if any.

                                              vi.

       There are additional reasons to support a finding of ineffective assistance by

counsel. Beyond hiring these two experts, counsel performed no other investigation

into potential mitigating evidence for the penalty phase. This is not a case where

counsel had already “gleaned a portrait of [Marshall’s] life.” Raulerson v. Warden,

928 F.3d at 997. For example, in Raulerson, the court found counsel’s investigation

reasonable because counsel engaged multiple experts, interviewed several family




Id. at 348-50, 354-58. What weight, if any, this type of evidence is entitled to is a matter that
Marshall’s jury should have had the opportunity to decide.
                                               60
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 61 of 114




members, and reviewed extensive records. Id. at 997. In Marshall’s case, the

investigation’s inadequacy is further underscored by counsel’s notes, which show

that counsel had “evidence that would lead a reasonable attorney to investigate

further.” Id. at 998. More specifically, as noted previously, Armour had names and

contact information of family members who were willing to testify on Marshall’s

behalf, Vol. 36 at 136-46, 209-28, counsel knew that Marshall’s brother had written

Marshall and offered to help, id. at 138-46, and Dr. Ackerson’s report showed that

Marshall suffered a “chaotic and periodically abusive childhood,” Vol. 16 at 1248-

51. “In light of what counsel actually discovered” in Dr. Ackerson’s report and

Armour’s investigation, Marshall’s counsel should have continued looking into

leads. See Wiggins, 539 U.S. at 525. After all, as the Supreme Court has held,

counsel’s knowledge, for example, that “Petitioner’s mother was a chronic alcoholic;

[he] was shuttled from foster home to foster home and displayed some emotional

difficulties while there; he had frequent, lengthy absences from school; and, on at

least one occasion, his mother left him and his siblings alone for days without food”

was sufficient to alert any reasonably competent attorney to the need for further

investigation. Id.

                                        vii.

      The Respondent asserts that trial counsel simply made a strategic decision

against hiring a mitigation expert. The ACCA agreed with this point:


                                         61
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 62 of 114




      [T]rial counsel did not hire a “mitigation expert” to assist in investigating and
      presenting mitigation evidence. Trial counsel instead retained both a private
      investigator and a clinical psychologist to assist in the mitigation phase of
      Marshall’s trial—which was a reasonable decision. Simply because trial
      counsel did not retain the same type of expert to assist in the mitigation phase
      that Rule 32 counsel would have retained does not render Marshall's trial
      counsel ineffective. Accordingly, the circuit court did not err when it denied
      these claims,

Marshall v. State, 182 So. 3d 573, 605 (Ala. Crim. App. 2014). This court agrees

that Marshall’s counsel certainly reasonably made the strategic decision to rely only

on the investigator and the psychologist. But, having done so, counsel were not

relieved of their obligation to actually look at the reports their professionals

prepared. Dr. Ackerson’s report is replete with red flags that courts have held warrant

further investigation. Again, this is not to suggest that counsel should have offered

the report at the trial or call Dr. Ackerson as a witness. To the contrary, opting not

to admit Dr. Ackerson’s report at the penalty stage was a strategic decision for

counsel to make based on their professional expertise. See, e.g., n. 20 supra.

However, counsel unreasonably chose not to follow up on the information contained

in that report. Under then prevailing standards, knowing of Marshall’s abusive,

neglected childhood, any reasonable attorney would have engaged in a more

thorough investigation, by either talking to family members (at least one of whom

counsel knew had written Marshall) or revisiting the decision whether to hire a

mitigation expert. The failure to use the information provided by the two individuals

counsel hired is the error rather than counsel’s failure to hire a mitigation expert.
                                           62
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 63 of 114




                                               viii.

       To close, given what counsel describes as “overwhelming” evidence of guilt,

Vol. 7, Tab 24 at 770-72, any reasonable attorney would have known that the

sentencing phase presented the only realistic opportunity for Marshall to obtain a

“favorable” result.27 And yet, despite “potentially powerful mitigating evidence

star[ing] [them] in the face,” i.e. Dr. Ackerson’s report and Armour’s investigation,

Marshall’s counsel “unreasonably decided to end [their] investigation after only

talking to” Marshall’s father. Maples v. Comm’r, Alabama Dep’t of Corr., 729 F.

App’x 817, 824 (11th Cir. 2018). They made this decision despite acknowledging

they had no mitigation strategy to offer at sentencing. Vol. 36 at 117.28 And, this is

not an example of a reasonable decision made after counsel gathered a substantial

amount of information about their client. 29 To the contrary, counsel made the

decision to stand down even though they had pertinent information that may have


       27
         In Johnson, the Eleventh Circuit held “[n]o reasonable attorney who has every
expectation that his client will be convicted and will be facing a death sentence would wait until
the guilt stage ended before beginning to investigate the existence of non-statutory mitigating
circumstances. No reasonable attorney, after being told by his client that he had an abusive
upbringing, would fail to interview members of his client’s family who were readily available and
could corroborate or refute the allegations of abuse. No reasonable attorney told by his client that
he had an alcoholic and abusive father would fail to pursue those non-statutory mitigating
circumstances simply because the father denied it.” 643 F.3d at 932-33.
       28
         Compare Jenkins v. Commissioner, Alabama Department of Corrections, 936 F.3d 1252,
1269-70 (finding counsel’s failure to investigate defendant’s background was strategic where
counsel prioritized raising a residual doubt mitigation theory at sentencing).
       29
          Compare Bobby v. Van Hook, 558 U.S. 4, 9-12 (2009) (finding lawyers who spoke with
multiple family members “early and often” and employed multiple expert witnesses months before
trial were reasonable in deciding not to pursue more evidence).

                                                63
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 64 of 114




proved useful, such as evidence that Marshall had an abusive upbringing and an

alcoholic father. In short, trial counsel failed to pursue leads on family members who

could “corroborate or refute [these] allegations.” Johnson, 643 F.3d at 932.

      The failure of counsel is not in dispute. The state trial judge noted that it was

unusual that trial counsel presented no mitigation evidence. Vo. 15 at 1004. Also,

Marshall’s counsel basically conceded their shortcomings. Lead trial counsel

admitted at the Rule 32 hearing that he “d[idn]’t know that [he] had” a theory of

mitigation for the penalty phase. Vol. 36 at 117. And in a sad indictment of the

process, he added further that he did not have a sense of how long his investigator

would have needed to investigate mitigation for the case because “[w]e, in Jefferson

County, Alabama, don’t know a whole lot about mitigation, because we don’t get

any money to hire anybody to do mitigation.” Vol. 36 at 183. The lack of resources

is not an excuse here, however, where counsel actually had information that should

have caused them to inquire further, i.e. multiple red flags indicating readily

available and compelling mitigation evidence, as well as leads on where to find that

evidence. No reasonable attorney would have failed to investigate Marshall’s

background further. In light of this unreasonable investigation, counsel’s failure to

develop or present mitigating evidence at the sentencing stage was deficient.




                                          64
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 65 of 114




                                           d.

      In addition to showing that counsel acted deficiently, Marshall must also show

prejudice. Strickland’s prejudice prong requires that Marshall show that “but for

[this] deficient performance, there is a reasonable probability that the result of his

penalty phase proceeding would have been different.” Johnson, 643 F.3d at 928

(citations omitted). This requires that the court “evaluate the totality of the available

mitigation evidence—both that adduced at trial, and the evidence adduced in the

habeas proceeding [and] reweigh it against the evidence in aggravation.” Maples v.

Comm’r, Alabama Dep’t of Corr., 729 F. App’x 817, 823 (11th Cir. 2018). If this

reweighing shows “a breakdown in the adversarial process that our system counts

on to produce just results, such that the proceeding was fundamentally unfair,” then

the court must vacate the death sentence. Id.

      However, a court may not consider “undiscovered and unpresented mitigating

evidence . . . in isolation.” Maples, 729 F. App’x at 823. Rather, the court must

address “what would be the combined effect of all mitigating evidence in producing

a different outcome at sentencing.” Daniel v. Commissioner, Ala. Dept. of

Corrections, 822 F.3d 1248, 1278 (11th Cir. 2016). In doing so, the court must

recognize that sentences at the penalty phase must be “individualized by focusing

on the particularized characteristics of the individual.” Armstrong v. Dugger, 833

F.2d 1430, 1433 (11th Cir.1987). For that reason, “[i]t is unreasonable to discount


                                           65
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 66 of 114




to irrelevance the evidence of [a defendant’s] abusive childhood, . . .” Porter, 558

U.S. at 43. Moreover, a petitioner’s background that includes “severe privation,”

“abuse,” “physical torment,” and an “alcoholic, absentee [parent]” is the kind of

troubled history that the Supreme Court has “declared relevant to assessing a

defendant’s moral culpability.” Wiggins, 539 U.S. at 535. A defendant’s life history

is “a part of the process of inflicting the penalty of death.” Id. at 535.30

        Here, Marshall’s jury heard nothing about him at the penalty phase. Had

Marshall’s counsel investigated the red flags before them in their records, they

would have had the following mitigating testimony, drawn from deposition and Rule

32 hearing testimony of family members who claimed trial counsel never contacted

them:

        From age two to fifteen, Marshall’s father figure was his mother’s second
        husband, Dean Johnson. At the Rule 32 hearing, the Marshall family
        described Dean as “violent,” “a heavy drinker,” and a father who taught right
        from wrong “with a belt,” often leaving physical evidence of beatings on his
        victims, including Marshall.

        As revealed at the Rule 32 Hearing, Dean even threatened Marshall’s mother
        with a gun in front of Marshall when he was only 5 years old. Perhaps the

        30
          See also Collier v. Turpin, 177 F.3d 1184 (11th Cir. 1999) (failure to present the available
evidence of defendant’s upbringing, compassion, his poverty, and gentle disposition rendered
performance ineffective); Harris v. Dugger, 874 F.2d 756 (11th Cir. 1989) (because the jury knew
little about defendant including that family members described him as a devoted father, husband,
and brother, counsel was ineffective); Armstrong, 833 F.2d at 1434 (finding the “demonstrated
availability of undiscovered mitigating evidence clearly met the prejudice requirement”
under Strickland ); Blanco v. Singletary, 943 F.2d 1477, 1505 (11th Cir. 1991) (finding a
“reasonable probability” that “jury might have recommended a life sentence” had counsel
presented the mitigating evidence that would have been available “had they more thoroughly
investigated”).

                                                 66
Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 67 of 114




most shocking episode of drunken violence witnessed by Marshall involved a
drunken Dean trying to run over Marshall’s mother with a car in which the
children were all riding.

Marshall often got the worst, and the most repeated beatings, from Dean. It
was not uncommon for Marshall to be hit, slapped, and punched in the face or
head. Beverley testified that Dean “hit Bruce upside his head with his fists.
He would use a belt or something. It didn’t make any difference where it hit,
a leg, an arm. It didn’t matter.” She testified that these “beatings” occurred
weekly. Dean would leave physical marks on Marshall during these beatings.
In fact, Marshall’s mother testified that she eventually stopped trying to get
Dean to quit beating Marshall or the other kids because, when she did try, the
beatings just got worse.

Despite knowing the violence towards Marshall, his mother voluntarily left
Marshall in the care of the very man perpetrating the violence. Mrs. Charlton
also gave up emotionally on Marshall, resulting in abandonment and extreme
emotional abuse towards Marshall. Once Mrs. Charlton’s marriage to Dean
ended, the family split up, with Marshall and his brother remaining in Dean’s
household, while Berguitta continued to live with their mother. For years
thereafter, Marshall had only limited contact with his mother.

The physical abandonment of Marshall came on the heels of severe neglect.
Specifically, Cleo testified regarding a time when Marshall was four or five
years old, and she was called over to his house by a neighbor because
something was wrong. When Ms. Brasted arrived, she found a little four or
five year-old at home while his mother was in bed with a random man and
“Bruce was drunk.” Based on this event, Ms. Brasted testified that after that
incident she contacted a lawyer and considered keeping the children since they
were not “taken care of.”

The violence and emotional and physical abuse did not end when Marshall
eventually returned to live with his mother. Rather, they continued at the
hands of Mrs. Charlton’s subsequent romantic partner, Jerry Aires. Berguitta
testified that Aires was “abusive and evil” to Marshall. She said he was “very,
very mean when he would drink. He would just hit for no reason.” He would
hit Marshall in the face and in the head. He would leave physical marks on
Marshall and would hit him with things other than his hands, including a belt
with metal rings. Ms. Marshall further testified that fear ruled the household
with Jerry, eventually leading Marshall to run away from home. She said that
                                   67
Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 68 of 114




she and Marshall “were always scared.” Marshall was not just the subject of
abuse, but he was a witness to the violence and abuse inflicted on his loved
ones, including his mother and sister, whom he oftentimes tried to protect.

Marshall, by the time he was a teenager, had lived in four states and
somewhere between ten and fifteen cities. In addition to his constant moves,
during Ms. Charlton’s time with Dean, the family went from place to place
within a city desperately looking for shelter. In the words of Marshall’s
brother, “we didn’t have a place to live.”

As a teenager, Marshall was sent to live at the Braddock House. Ms. Louise
Hostetler is the “former director of Braddock House, a state facility for
children who were designated as either CINS (“Child In Need of Services”)
cases or juvenile delinquents” . . . Hostetler’s affidavit was filed in open court
during the Rule 32 Hearing. Had Ms. Hostetler been asked to testify on
Marshall’s behalf, she would have testified that the Braddock House was not
a facility for children who had committed violent crimes, but rather a facility
for “basically good kids who needed structure to learn socially acceptable
ways to live.” Ms. Hostetler would have explained to the jury that in this
structured environment, Marshall “did not exhibit any really bad behavior”
and in fact counseled another boy into staying at the Braddock House instead
of running away.

Additionally, Ms. Hostetler could have told the jury of how Marshall’s mother
essentially abandoned him to the home. Although the Braddock House
encouraged family visits, Ms. Hostetler does “not recall Bruce’s mother or
any other family member visiting Marshall during the time he lived at
Braddock House.” After leaving the Braddock House, Marshall went to live
with his foster parents, the Reverend Gerald and Marlene Scott. Reverend
Scott has testified that Marshall lived with him and his wife in 1982 as a part
of a “Family Oriented Group Home” as a “family model home” after Marshall
completed his stay at the Braddock House in order for him to be better
equipped when he returned “into the family life.” Reverend Scott stated that
his role was to be “the father figure” and that the boys called him “dad.”

Had Reverend Scott been contacted for mitigation evidence, he would have
testified that in this structured environment with a family who loved and cared
for him, Marshall “was fabulous.” Reverend Scott would have testified that
they had “no difficulties with him” and that he cannot “remember any


                                    68
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 69 of 114




      situation that [he] even had to correct him” and noted that “he was super.”
      Reverend Scott could have explained to the jury that Marshall would help look
      after his mentally challenged son, Mikey, and that his daughter considered
      Marshall another brother in the family. (C. 5009). Further, Reverend Scott
      testified that he absolutely never saw any violent tendencies in Marshall. Id.
      Reverend Scott would have told the jury that he does not recall Marshall ever
      receiving a visit, telephone call, or single piece of mail from Beverley. (C.
      5010). In fact, Reverend Scott explained that it was like there “was no home
      for him to go to.”

      Reverend Scott’s wife, Marlene Scott, testified that Marshall called her
      “Mom.” Mrs. Scott would have explained that her role was to help boys such
      as Marshall “see how an ordinary home functioned, how husband and wife
      reacted and how they reacted with the children and how discipline came about,
      and how there was much love, that love was something that could be
      expressed.” Mrs. Scott would have testified that while Marshall lived with her
      he did his chores and was always willing to do anything she asked. Mrs. Scott
      could have explained to the jury that in such a structured environment
      surrounded by a loving family, she did not recall any problems with Marshall
      and that “[o]ut of the 44 boys” that she acted as a foster parent to, that “if you
      would have ever asked me which ones would be in trouble, he would have
      never made that list. He was just – he was what you wished all of them would
      be.”

Doc. 7 at 12-15 (citing Vol. 34 at 4972-5000; Vol. 35 at 5008-11; Vol. 37 at 237-

334; Vol. 39 at 106-16).

                                          i.

      During his Rule 32 proceedings, Marshall wanted to call Jan Vogelsang, a

social worker and mitigation specialist, to testify about his background and the

impact it had on him. However, Vogelsang advised Marshall’s counsel that the three-

month window available for her assessment was too short, and counsel requested a

continuance to allow Vogelsang to complete her report. Vol. 39 at 128. The court


                                          69
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 70 of 114




denied the continuance and foreclosed Vogelsang’s testimony as cumulative, Vol.

37 at 394-403, but allowed Marshall to proffer an affidavit from Vogelsang,31 vol.

39 at 117-66. And, because she did not have time to perform a full biopsychosocial

assessment, Vogelsang submitted instead a “modified” report that provided an

incomplete assessment of Marshall.32 Doc. 45 at 63-64.



       31
          The Respondent argued that Vogelsang’s testimony at the Rule 32 hearing was irrelevant
to the ineffective assistance claim, stating Marshall’s counsel could not have hired her during the
trial. Doc. 48 at 3-6, 23-24. But, the point is not whether Vogelsang herself could have testified
during the trial, but rather that Marshall’s counsel were deficient for failing to find the evidence
that Vogelsang found or hire a mitigation expert who could have done the same work, and that had
counsel presented this evidence to the jury, there existed a reasonable probability of a life sentence
instead of death. Furthermore, the court rejects the Respondent’s contention that the trial court
would have excluded Vogelsang’s testimony as hearsay. Id. at 21-22. Under Alabama law, “[t]he
trial court may properly consider hearsay at the penalty phase of trial if the defendant has an
opportunity to rebut the evidence.” Ex Parte McGahee, 632 So. 2d 981, 982-83 (Ala. 1993)); Ala.
Code §§ 13A-5-51–52 (stating that a defendant at sentencing may offer evidence of any aspect of
a defendant’s character or record and any other relevant mitigating circumstance); Ala. R. Evid.
1101 (establishing that the Rules of Evidence do not apply in sentencing proceedings).
       32
           This court granted an evidentiary hearing in part to allow the full testimony of Vogelsang.
The undersigned reasoned that “because Dr. Vogelsang’s proffer is consistent with the testimony
from Marshall’s family members during the Rule 32 hearing and is replete with potential
mitigating evidence that trial counsel purportedly erred in either not discovering or failing to
present at the penalty phase, Marshall has established that his trial counsel’s investigation into
potential mitigating evidence was so deficient that, if true, would entitle him to habeas relief.”
Doc. 23. And consistent with Marshall’s contention about the affidavit, at the hearing, Vogelsang
testified that due to time constraints and the denial of a continuance, the affidavit proffered at the
Rule 32 hearing provided only a truncated assessment of Marshall. Doc. 45 at 63-64. In any event,
between the Rule 32 hearing and this court’s evidentiary hearing, she gathered new records,
conducted additional research, interviewed additional witnesses, and performed multi-generational
histories of Marshall’s family and assessments of communities where he lived. Id. Because the
potency of the mitigation contained in Vogelsang’s report depended on its presentation as a whole,
and because none of the state courts had the opportunity to review this report, this court reviews
the mitigation evidence contained therein de novo. See Johnson v. Williams, 568 U.S. 289, 303
(2013) (“AEDPA permits de novo review in those rare cases when a state court decides a federal
claim in a way that is ‘contrary to’ clearly established Supreme Court precedent. When the
evidence leads very clearly to the conclusion that a federal claim was inadvertently overlooked in
state court, § 2254(d) entitles the prisoner to an unencumbered opportunity to make his case before
                                                 70
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 71 of 114




       Through her assessment, Vogelsang identified five types of “psychological

battering” Marshall experienced as a child, as well as twenty risk factors in

Marshall’s life that impacted his psychological and emotional development. See

Doc. 47-11. Vogelsang testified that, taken together, certain features of Marshall’s

life accumulated to leave him with poor judgment, poor insight, a lack of resilience,

and a “complete[] [inability] to handle rejection or abandonment.” 33 Doc. 45 at 151.

Had Marshall’s counsel engaged in a reasonable investigation, the jury would have

heard from Marshall’s family and/or from someone like Vogelsang about Marshall’s

violent, deprived, and perilous childhood, and the impact it likely had on his

development. 34 But trial counsel presented no such evidence, and instead offered to

the jury that “the only way [he] c[ould] see that [the jury] might come back with a



a federal judge.”). See also Berghuis v. Thompkins, 560 U.S. 370 (2010); Pittman v. Sec’y, Fla
Dept. of Corr., 871 F.3d 1231, 1245 (11th Cir. 2017).
       33
          The features Vogelsang identified included: “Accumulation of Risk Factors,” including
being “[b]orn into an unstable home,” “[a]bandoned by father,” “[p]hysically abused by
stepfather,” “[a]bandoned by mother,” “[p]eriods of hunger,” “[w]itnessing violence to loved
ones,” “[p]hysically abused by mother’s violent boyfriend,” “[f]orced to steal to support mother
and her boyfriends,” “[w]itnessed stepfather attempt to run over mother,” and “[i]nappropriate
family sexual behavior.” Doc. 47-11 at 20-22.
       34
          None of this evidence presented the “double-edged-sword dilemma” contemplated by
the Eleventh Circuit in Peede v. Attorney General, 715 F. Appx. 923, 931 (11th Cir. 2017) (finding
new mitigation evidence was insufficient to grant habeas relief where it “could have hurt as much
as it helped”). See also Evans v. Sec’y, Fla. Dep’t of Corrs., 703 F.3d 1316, 1327 (11th Cir.
2013) (deferring to state court’s rejection of relief where new evidence was a double-edged sword
because evidence can be more harmful than helpful); Ledford v. Warden, Ga. Diagnostic &
Classification Prison, 818 F.3d 600, 650 (11th Cir. 2016) (“And there is a real danger that
additional mitigation evidence, particularly if presented by testifying family members, would have
been a ‘double-edged sword,’ which argues against a showing of prejudice.” (citing cases)).

                                               71
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 72 of 114




life without parole recommendation would be just out of compassion,” and

apologized that he had nothing else to give the jury. Vol. 7, Tab 24 at 770-72.

Counsel’s sincere apology does not excuse his failure to present available mitigation

evidence.35

                                               ii.

       To restate, Marshall’s jury heard no evidence that would “humanize [him] or

allow them to accurately gauge his moral culpability.” Porter, 558 U.S. at 41. Had

Marshall’s counsel performed a reasonable investigation, they would have had the

“kind of troubled history [the Supreme Court] ha[s] declared relevant to assessing a

defendant’s moral culpability.” Wiggins, 539 U.S. at 535. Instead, the picture the

jury received of Marshall’s life was nonexistent. This meant that the jury lacked “so

many important data points about [Marshall’s] background and character” that it

completely foreclosed their ability to “accurately gauge [his] moral culpability.”

Maples, 729 F. App’x at 827. The failure is not necessarily a non-factor or non-




       35
           The failure to present any mitigation evidence distinguishes this case from others in
which a habeas petitioner is seeking to introduce evidence that is cumulative to that presented in
his trial. Compare Cullen v. Pinholster, 563 U.S. 170, 200-01 (2011) (finding “no reasonable
probability that . . . additional evidence . . . would have changed the jury's verdict” when the
evidence “largely duplicated the mitigation evidence at trial” and was “of questionable mitigating
value”); Ponticelli v. Sec’y, Fla. Dep’t of Corr., 690 F.3d 1271, 1296 (11th Cir. 2012) (finding
new evidence could not show prejudice because it merely recapitulated evidence heard at trial).

                                               72
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 73 of 114




prejudicial because the evidence in question may well have convinced a few more

jurors to recommend a sentence other than death.36

       Moreover, “the weight of the evidence in aggravation is not as substantial as

the sentencing judge thought.” Daniel, 822 F.3d at 1277 (citing Porter, 558 U.S. at

41). One of the aggravating circumstances the State presented to the jury was

incorrect: Marshall was not “under a sentence of imprisonment” when he committed

the murder, a fact the ACCA acknowledged in their opinion. 37 Marshall v. State, 182

So. 3d 573 at 607, n.9 (Ala. Crim. App. 2014). This correction “reduce[s] the ballast

on the aggravating side of the scale.” Porter, 558 U.S. at 41. Reweighing the two

proper aggravating circumstances—that Marshall had a prior conviction for a violent

felony and was engaged in a burglary when he committed the murder—against a


       36
           In Alabama, a jury verdict for life without parole “must be based on a vote of a majority
of the jurors,” but a jury verdict for death “must be based on a vote of at least 10 jurors.” Ala.Code
§ 13A–5–46(f). If the jury is unable to reach a verdict as to sentence, the trial court is authorized
to declare a mistrial. Id. § 13A–5–46(g).
       37
          Marshall raised this point as a separate contention of alleged ineffective assistance –
counsel’s “fail[ure] to correct the trial court’s reliance on a critical aggravating factor,” namely,
that he was on probation at the time of the murder. Doc. 7 at 18. The trial court found that two
aggravating factors weighed against Marshall, in addition to his (ultimately erroneous)
probationary status. Marshall, 992 So. 2d at 779. As the ACCA found, the jury recommended
death “based on the weight given to the other two aggravating circumstances: (1) the Alabama
Code Section 13A–5–49(2) aggravating circumstance that Marshall had previously been convicted
of a felony involving the use or threat of violence to the person on two prior occasions and (2) the
Alabama Code Section 13A–5–49(4) aggravating circumstance that Marshall was engaged in the
commission of a burglary at the time of the commission of the capital offense.” Marshall v. State,
182 So. 3d 573, 594 (Ala. Crim. App. 2014). Therefore, because two other aggravating
circumstances existed, the ACCA dismissal of this claim on its merits was not “contrary to, or . . .
an unreasonable application of, clearly established federal law,” nor was it an “unreasonable
determination of the facts in light of the evidence presented in the state court proceeding.” 28
U.S.C. § 2254(d).
                                                 73
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 74 of 114




competent closing statement and testimony from his family, foster parents,

children’s home director, as well as from medical records and a competent

mitigation specialist detailing his painful life history, this court finds that the wealth

of mitigating evidence Marshall’s counsel failed to find or present was both powerful

and significant, creating a “substantial likelihood of a different sentence.” Cullen,

563 U.S. at 202.

       Based on both the amount and the kind of mitigation that counsel could have

presented at the penalty phase, this court cannot conclude that no reasonable

possibility existed that Marshall’s jury would not have recommended life in prison

instead of death. Accordingly, Marshall has also established the prejudice prong and

is entitled to relief on this claim.

                                            2.

       Also, in relation to the penalty phase, Marshall contends that his counsel

“improperly emphasized . . . the inculpatory evidence against [him]” in closing

statements. Doc. 7 at 19. At issue is the following portion of counsel’s closing:

       The only thing I can say is . . . none of us know what the future is going
       to bring . . . I don’t know if [Marshall] may somehow someday be able
       to see the error of his ways and do right . . . In this situation the evidence
       is overwhelming. The only way I can see that you might come back
       with a life without parole recommendation would be just out of
       compassion . . . I’m sorry I didn’t have anything else to say or give you.

Vol. 7, Tab 24 at 770-72.



                                            74
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 75 of 114




                                                  a.

       The Respondent contends that Marshall defaulted this claim when he failed to

properly raise it under Alabama Rule of Appellate Procedure 28(a)(10).38 Docs. 11

at 10; 12 at 28. Indeed, the ACCA dismissed this claim along with several others, on

procedural grounds:

       Marshall, in raising these arguments, cites no authority supporting his
       claims. It is well settled that “[i]t is not the function of this Court to do
       a party’s legal research or to make and address legal arguments for a
       party based on undelineated general propositions not supported by
       sufficient authority or argument.”’ Borden, 60 So.3d at 943 (quoting
       Butler, 871 So. 2d at 20, quoting in turn Dykes, 652 So. 2d at 251).
       Consequently, these arguments do not satisfy Rule 28(a)(10), Ala.
       R.App. P., and are deemed abandoned.

Marshall v. State, 182 So. 3d 573, 623 (Ala. Crim. App. 2014).

       Marshall counters that the ACCA “did not clearly indicate its reliance on state

procedural grounds for its decision to reject [his] argument,” doc. 17 at 32, and

inaccurately found he insufficiently pleaded his claim under Rule 28(a)(10), id. at

33-34. But, as the ACCA noted, the burden is not on the court to make or flesh out

arguments for the parties. Rather, “[t]o obtain review of an argument on appeal, an

appellant must provide citations to relevant cases or other legal authorities and an

analysis of why those cases or other authorities support an argument that an error



       38
          Rule 28(a)(10) requires that an argument contain “the contentions of the appellant/
petitioner with respect to the issues presented, and the reasons therefor, with citations to the cases,
statutes, other authorities, and parts of the record relied upon.”

                                                  75
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 76 of 114




occurred and that the alleged error should result in reversal.” Alonso v. State, 228

So. 3d 1093, 1108 (Ala. Crim. App. 2016) (citations omitted). Still, courts must not

liberally or gratuitously apply Rule 28(a)(10) for convenience or expedience as a

way to whittle down a voluminous appeal. Instead, “waiver of an argument for

failure to comply with Rule 28(a)(10) . . . has been limited to those cases where there

is no argument presented in the brief and there are few, if any, citations to relevant

legal authority, resulting in an argument consisting of undelineated general

propositions.” Borden, 60 So. 3d at 944.

      A review of the relevant brief indicates that Marshall relied solely upon ABA

Guideline 10.11 to support his argument that “defense counsel should be an ardent

advocate for their client, especially when that client faces death.” Vol. 44 at 152–

53. Marshall then cites to the allegedly prejudicial closing argument and deems it

“devaluing to the client.” Id. at 152. Marshall cites no case law or statute supporting

his claim, and provided only the ABA guidelines and a vague, conclusory argument,

in clear violation of Rule 28(a)(10). See Vol. 44, Tab 61. “[P]revailing norms of

practice as reflected in American Bar Association standards . . . are guides to

determining what is reasonable, but they are only guides.” Strickland, 466 U.S. at

688-89. By “explicitly invoking a state procedural bar rule as a separate basis for

decision,” the ACCA’s application of Rule 28(a)(10) to Marshall’s claim presents

an adequate and independent state procedural ground for dismissal. Harris v. Reed,


                                           76
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 77 of 114




489 U.S. 255, 264 n.10 (1989). Accordingly, the court is unable to determine the

merits of this unexhausted (and now procedurally barred) claim. 39

                                                   b.

        Alternatively, the claim fails for two additional reasons. First, Marshall

procedurally defaulted this claim by failing to raise it in his application for rehearing

to the ACCA. See generally Vol. 45, Tab. 64. The only mention of the claim is a

brief reference to counsel’s allegedly prejudicial closing argument in the Statement

of the Case. A federal court cannot grant habeas relief to a state prisoner “unless it

appears that the applicant has exhausted the remedies available in the courts of the

State or there is an absence of available State corrective process; or circumstances

exist that render such process ineffective to protect the rights of the applicant.” 28

U.S.C. § 2254(b)(1). This exhaustion requires the petitioner to “invoke[] one

complete round of the State’s established appellate review process.” O’Sullivan v.

Boerckel, 526 U.S. 838, 845 (1999). And in Alabama, this complete round involves

an application for rehearing following an ACCA denial of a Rule 32 appeal, as well



        39
           Marshall’s petition contains both exhausted and nonexhausted claims. Ordinarily, “a
district court must dismiss such ‘mixed petitions,’ leaving the prisoner with the choice of returning
to state court to exhaust his claims or of amending or resubmitting the habeas petition to present
only exhausted claims to the district court.” Rose v. Lundy, 455 U.S. 509, 510 (1982). However,
“[d]ismissing a mixed petition is of little utility . . . when the claims raised for the first time at the
federal level can no longer be litigated on the merits in state court because they are procedurally
barred. In such a case, requiring the petitioner to return to state court only to make a futile
application for relief simply delays the federal courts’ adjudication of his petition.” Kelley v.
Secretary for Dep’t of Corrections, 377 F.3d 1317, 1351 (11th Cir. 2004).

                                                   77
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 78 of 114




as a petition for certiorari to the Alabama Supreme Court. Smith v. Jones, 256 F.3d

1135, 1140-41 (11th Cir. 2001). In each step, the petitioner must present the federal

claim so that “a reasonable reader would understand each claim’s particular legal

basis and specific factual foundation.” Kelley, 377 F.3d at 1344-45. Here, Marshall

failed to exhaust this claim by leaving it out of his application for rehearing.

       Second, while the damning remarks made by counsel arguably run afoul of

the deficiency prong of Strickland, Marshall cannot show prejudice. Based on the

case Marshall’s counsel presented, the defense had little fodder for a closing

statement. As lead counsel admitted in his closing, “I didn’t have any witnesses to

call . . . I didn’t have anything else to say or give you.” Vol. 7, Tab 24 at 772. In that

respect, even if counsel had refrained from his more objectionable comments, 40 his

closing would still have lacked any substantive references that would have made a

difference. And, consequently, Marshall has not presented any specific evidence that

he would have received a different sentence but for the improper closing argument.

Therefore, he fails to satisfy the Strickland prejudice standard.


       40
          Counsel stated to the jury, “In this situation the evidence is overwhelming. The only way
I can see that you might come back with a life without parole recommendation would be just out
of compassion.” Vol 7, Tab 24 at 772. The court notes that in the context of counsel’s deficient
and prejudicial failure to develop and present mitigating evidence, counsel’s statement drawing
attention to the lack of evidence in his closing argument is even more egregious. Though this
argument does not rise to the level of ineffective assistance on its own, when taken in combination
with the counsel’s other failures, it adds to the picture of a set of attorneys who “g[ave] up” on
their client. Hardwick, 803 F.3d at 547. However, the court does not include this argument in its
assessment of Marshall’s successful ineffective assistance claim because it was defaulted and
therefore outside this court’s proper review.

                                                78
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 79 of 114




                                          3.

      Turning next to Marshall’s contentions of alleged ineffective assistance at the

guilt phase claims, Marshall challenges counsel’s failure to hire a forensic expert to

rebut the State expert’s trial testimony regarding a vaginal lesion found on the

victim. Doc. 7 at 30-33. Marshall contends that the failure to offer a forensic witness

precluded counsel from “conduct[ing] even a minimally effective cross-examination

of the State’s witness, Dr. William Shores.” Id. at 30. Allegedly, Dr. Shores’

testimony that the vaginal lesion likely occurred within 24-48 hours before the

victim’s death, id., allowed the jury to infer that Marshall caused the lesion, id. at

33. The ACCA agreed with the State that counsel made a strategic choice on this

issue, noting Mathis’ testimony at the Rule 32 hearing that he had no reason to doubt

the State’s expert, did not believe the defense would benefit from delving into the

victim’s sexual history, and did not think hiring a forensic expert was “pertinent.”

Marshall v. State, 182 So. 3d 573, 586 (Ala. Crim. App. 2014) (citing Vol. 36 at

164-65). The court agrees.

                                           a.

      In his petition to this court, Marshall asserted that because the Rule 32 court

refused to allow his forensic rebuttal witness, Dr. George R. Nichols, to review tissue

samples from the victim or testify at the hearing, Vol. 37 at 390-92, he proffered an

affidavit from Dr. Nichols, id. at 393. And in that affidavit, Dr. Nichols stated that


                                          79
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 80 of 114




Dr. Shores could not have had “any basis for concluding that the genital lesion . . .

occurred 24-48 [hours] prior to his examination” because he did not perform the

microscopic histological examination required to make such an assessment. Vol. 43

at 352. Dr. Nichols further stated that, had Marshall’s defense team contacted him

and put him up to testify at the 2006 trial, he would have “provided testimony

consistent with . . . [his] affidavit.” Id. at 352-53.

       After finding that Marshall presented facts which, if proven true, would

demonstrate prejudice from his counsel’s failure to hire a forensic expert, this court

ordered an evidentiary hearing to allow Dr. Nichols to analyze wet tissue samples

from the victim and provide testimony. See Doc. 23 at 8-9. At the evidentiary

hearing, the court received Dr. Nichols as an expert witness in the area of clinical

and forensic pathology. Doc. 45 at 9. In his testimony, Dr. Nichols elaborated on the

statements in his affidavit, explained the process of a microscopic histological

examination, and opined that Dr. Shores could not have determined the timing of the

lesion because Dr. Shores “did an incomplete examination.” 41 Id. at 22-23.



       41
           Dr. Nichols explained, “Dr. Shores needed to evaluate in more detail the vaginal lesion.
I’ll use the word lesion, meaning anything other than normal. So he found a lesion, took
photographs of the lesion, made a diagram of the lesion, said a few words about the lesion, and
stopped. He didn’t see if there was deeper injury to vaginal or perivaginal tissues that could be
seen with further dissection. He made no attempt to retain the tissues and study it histologically to
make a determination of vital reaction occurring in the tissues, meaning that the heart was beating
after the injury and she was alive when it happened. He made no attempt to see if any form of
inflammatory response had occurred in the damaged tissues which would occur if she had lived
for about six hours or longer after the injury had occurred so you could begin to time when the
                                                 80
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 81 of 114




According to Dr. Nichols, his examination of the wet tissue samples provided no

clarity on the timing of the lesion, doc. 45 at 22-29, that Dr. Shores could not have

known from his examination whether the lesion occurred before or after the victim’s

death or the age of the lesion, id. at 31-32, and that the lesion could have resulted

from mishandling of the victim’s body after death, id. at 31. 42

                                                 b.

       Dr. Nichols’ testimony at the evidentiary hearing largely tracked his affidavit

to the Rule 32 court. In light of this, the court finds that Marshall failed to present

any new evidence to this court that was not before the state courts. Therefore, the

court reviews the evidence with the deference required by § 2254, considering only

whether any reasonable jurist could have reached the same decision as the ACCA.

The answer is yes. To begin, as to the Strickland deficiency prong, counsel likely

made a strategic error by failing to call a forensics expert in light of counsel’s

opening statement in which counsel promised that the defense would prove “through


event happened if she was alive. And he made no attempt to see if the lesion was an artifact
occurring after death.”
       42
          The court notes that during this line of question, Marshall’s counsel referenced
Petitioner’s Exhibit 13, which contains a narrative written by an investigator in the original trial.
The investigator stated the following regarding Dr. Shores: “He found out that no semen was found
on the victim and now says he is not sure how the tear . . . happened. He says that might even have
come from the body bag . . . [H]e says that he is not very familiar with trauma related to sexual
assault. He would prefer we find an expert.” Doc. 47-2 at 11. Marshall contends in his post-
evidentiary hearing brief, doc. 46, that “no evidence was ever presented at . . . trial that the body
bag could have been a possible cause of the mucosal tear.” Id. at 6. To the extent that Marshall is
attempting to raise a Brady claim that the State failed to divulge this potentially favorable evidence
to the defense, the court finds Marshall fails to allege sufficient facts to state the claim.

                                                 81
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 82 of 114




a forensics examiner who does DNA testing” that Marshall had no sexual contact

with the victim. Vol. 4, Tab 8 at 252. Moreover, lead counsel admitted at the Rule

32 hearing that testimony from a forensic expert would have improved the defense’s

chances to successfully introduce sexually explicit letters from the victim to her

boyfriend. Vol. 36 at 205-07. These letters were the only evidence suggesting an

alternative source of the vaginal lesion, and their exclusion meant the defense had

no credible basis to raise the argument of an alternative source or to challenge the

State’s contention that Marshall sexually abused or assaulted the victim. In

discussing his decision not to hire a forensic expert, lead trial counsel further

admitted that “if [he] had it to do again, [he] would do just that, but [he] didn’t do

it,” commenting, “[i]t was not done. I can’t give an explanation as to why . . . I may

have just missed it. I don’t know.” Id. at 166-67.

      However, despite counsel’s hindsight reflection and admission, a reasonable

jurist could still find that the decision not to hire a rebuttal expert was strategic, and

therefore outside the Strickland purview of deficiency. As the ACCA discussed:

      Mathis testified at the evidentiary hearing that, ‘had [he] thought it was
      pertinent, [he] would have hired [a forensic pathologist for the trial].’ (EH.
      164–65.) Mathis’s testimony indicated that he did not think that a forensic
      pathologist was necessary because he had no reason to doubt the State expert's
      conclusions regarding the timing of the vaginal tear and that he thought it was
      not in Marshall’s best interest to impugn the reputation of the 15–year–old
      victim by suggesting that she was sexually active without presenting
      compelling evidence of that fact, which trial counsel did not have. (EH. 189–
      92.) ‘I did not want to be cast in the mold of somebody who comes up here
      speaking ill of a dead child,’ said Mathis. (EH. 192.) Mathis testified that, with
                                           82
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 83 of 114




      regard to challenging the State’s forensic evidence by suggesting that the
      victim might have had sex with her boyfriend around the time of the murder,
      he ‘felt the negatives outweighed the positives and [he therefore] left it alone.’

Marshall v. State, 182 So. 3d 573, 586 (Ala. Crim. App. 2014). Strickland permits

counsel to “make reasonable decision[s] that make[] particular investigations

unnecessary.” 466 U.S. at 691. And, defense attorneys have “wide latitude [when]

making tactical decisions.” Id. at 689. Here, counsel indicated that they did not

pursue a rebuttal forensic expert because they believed an argument centering

around the victim’s sexual activity would impede their ability to advocate for

Marshall. Vol. 36 at 189-92. They instead cross-examined Dr. Shores to highlight

his uncertainty as to the timing of the lesion and show the lack of a direct link to

Marshall. Vol. 6 at 582-95. Accordingly, the ACCA could reasonably “conclude that

defense counsel could follow a strategy that did not require the use of experts.”

Harrington v. Richter, 562 U.S. 86, 106-07 (2011). Strategic decisions, even if

hindsight proves them in error, do not rise to a deficiency under Strickland.

                                          c.

      Alternatively, Marshall cannot demonstrate prejudice under Strickland for

two independent reasons. To begin, the jury heard evidence that Dr. Shores’

testimony regarding the source of the tear was inconclusive, and rebuttal testimony

on this point would not have meaningfully changed the evidence already before the

jury. The Rule 32 record demonstrates the evidence at trial showed that the forensic


                                          83
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 84 of 114




report regarding the vaginal tear was inconclusive. Indeed, Dr. Shores testified at

trial that his findings did not prove sexual assault, that he found no trauma to the

vagina or semen therein, and that while the lesion “raise[d] the question of . . . sexual

activity or sexual abuse[,] [t]hat’s all it [did].” Vol 6. at 582-83. He further admitted,

“I’m not an expert in that area.” Id. at 583. And, in discussing the timing of the lesion

during both direct and cross examination, Dr. Shores expressed uncertainty. See

generally id. at 582-96.43 Moreover, the State presented other evidence, albeit

circumstantial, that Marshall sexually abused or assaulted the victim, including

testimony that Marshall had spied on the victim while she showered, Vol. 8, Tab at

12, that he kept photographs of her clad in a swimsuit stored in his dresser drawer,

id. at 10, and that the victim’s body was found naked except for her socks and her

jewelry, id. Finally, as Marshall concedes, the jury deliberated about the cause of the

vaginal tear, 44 suggesting that trial counsel succeeded in creating doubt as to Dr.

Shores’ contention. While one reasonable jurist could find that these deliberations

show the jury considered the lesion important to their decision, another could find



        43
          Dr. Shores testified “I [d]efer to those people that are much more of an expert in that
area than I am,” Vol. 6 at 582, “I think it’s probably less than 24 hours in age . . . I guess before
the time of examination . . . Who knows, basically, how much any changes are going to be retarded
by refrigeration and that type of stuff . . . It could potentially be older if it were very cold,” id. at
589-90.
        44
           Doc. 17 at 47-48 (One juror, M.J., mentioned “that when [a] male juror asked whether
the vaginal tear could have been caused by masturbation, she and another female juror informed
the rest of the jury that the vaginal tear could not have been caused by masturbation.”).

                                                   84
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 85 of 114




that the jury properly viewed the State expert’s testimony as inconclusive as to the

source of the tear. Indeed, ultimately, the jury did not find Marshall guilty of murder

while committing rape in the first degree and convicted him instead of the lesser

included offense of murder. Vol. 6, Tab 14 at 735.

      For all these reasons, the ACCA reasonably held that Marshall was not

prejudiced by his counsel’s failure to hire a rebuttal forensic expert. Therefore, this

ineffective assistance claim is due to be denied.

                                          4.

      Marshall also alleges ineffective assistance at the guilt phase based on the

failure to “seek out and produce the lease to [his] apartment.” Doc. 7 at 37-38.

Marshall alleges that his arrest and ultimate confession resulted from police officers

unlawfully entering his home on the improper consent of his ex-wife, Tonya Bentley.

Id. Although Bentley had moved out of the apartment two weeks prior to the search,

she told law enforcement that she remained on the lease, that she still had belongings

in the apartment, and that she retained a key. Marshall v. State, 992 So. 2d at 765-

67. When Bentley’s key and the landlord’s key failed to open the door, the officers

requested and received Bentley’s permission to forcibly enter, at which point they

found and detained Marshall. Id. Marshall contends that this entry led to his

confession, and that his trial counsel acted deficiently in failing to secure the lease

and suppress the confession. Doc. 7 at 37-29. The court disagrees.


                                          85
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 86 of 114




      Habeas relief is generally unavailable on Fourth Amendment claims, but

petitioners may bring a Sixth Amendment ineffective assistance of counsel claim

based on an alleged failure to adequately litigate a Fourth Amendment violation.

Kimmelman v. Morrison, 477 U.S. 365, 375 (1986). The petitioner must satisfy the

deficiency prong of Strickland and demonstrate actual prejudice by “prov[ing] that

his Fourth Amendment claim is meritorious and that there is a reasonable probability

that the verdict would have been different absent the excludable evidence.” Id. As

the ACCA noted:

      [C]laims of failure to investigate must show with specificity what information
      would have been obtained with investigation, and whether, assuming the
      evidence is admissible, its admission would have produced a different result.
      Because Marshall failed to produce the purported “new” lease, or any other
      evidence that it ever existed, this issue would have had no affect on the
      outcome of his trial. Hence, this sub-claim is denied.

Marshall v. State, 182 So. 3d 573, 587–88 (Ala. Crim. App. 2014).

      To show that his claim has merit, Marshall would need to demonstrate the

officers conducted an unlawful search. The “determination of consent to enter must

‘be judged against an objective standard: would the facts available to the officer at

the moment warrant a man of reasonable caution in the belief’ that the consenting

party had authority over the premise?” Illinois v. Rodriguez, 497 U.S. 177, 188-89

(1990) (quoting Terry v. Ohio, 392 U.S. 1, 21-22 (1968)). If the officer answers this

question in the negative, “then warrantless entry without further inquiry is unlawful

unless authority actually exists. But if so, the search is valid.” Id. (emphasis added).
                                          86
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 87 of 114




This creates a two-part inquiry into the lawfulness of the forcible entry into

Marshall’s apartment: (1) did the facts before the officers create a reasonable belief

that Bentley had the authority to consent and, if not, (2) did Bentley actually have

the authority to consent. An affirmative answer to either question is sufficient.

       No relief is warranted because reasonable jurists could differ on both of these

questions.45 To begin, there is no proof that the lease would have supported

Marshall’s contentions. As the ACCA held, “Marshall . . . did not produce the



       45
           “Common authority [to consent to search] rest[s] on mutual use of the property by
persons generally having joint access or control for most purposes.” Rodriquez, 497 U.S. at 181.
In Rodriguez, the consenting party lacked common authority because she “had moved out . . .
almost a month before the search at issue [and] took her and her children’s clothing with her,
though leaving behind some furniture and household effects . . . [S]he sometimes spent the night
at [the] apartment, but never invited her friends there, and never went there herself when [the
resident] was not there. Her name was not on the lease nor did she contribute to the rent. She had
a key to the apartment.” Id. The search in Rodriguez bears substantial similarities to the search of
Marshall’s apartment. Bentley had moved out of the apartment two weeks prior to the search,
taking her children and many of her belongings with her. Marshall, 992 So.2d at 765-67. She
represented to the officers that she was on the lease, but the officers did not independently verify
this claim. Id. Though she had a key to the apartment, her key did not work when she arrived. Id.
Assuming her name was not on the lease, based on Rodriguez, Bentley may not have had actual
authority to consent to search. However, courts differ on whether these facts would present
apparent authority to consent to search such that an officer would reasonably believe the search
was lawful. Compare Koch v. Town of Brattleboro, Vermont, 287 F.3d 167, 167 n.4 (2d Cir. 2002)
(finding no apparent authority in a case with facts similar to Rodriguez but where officers knew
the consenting party did not live at the residence); United States v. Clay, 630 F. App’x 377, 383
(6th Cir. 2015) (“Factors we consider in determining whether a girlfriend had apparent authority
include whether she had a key . . . whether she provided a detailed description of the premises . . .
whether her name was on the lease . . . whether the police independently knew that she lived with
the defendant . . . [even when] the defendant changed the locks on the exterior doors of the searched
house [or] had expressly asked the police to bar the consenting girlfriend from the searched house”)
(citations and quotation marks omitted); United States v. Trzaska, 859 F.2d 1118, 1120 (2d
Cir.1988) (estranged wife had authority to consent to a search of her former husband's apartment
two weeks after she moved out, where she still had a key and collected personal belongings during
the search).

                                                 87
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 88 of 114




alleged lease purporting to remove Tonya as a tenant of the property—or any other

evidence demonstrating that Tonya was not longer a tenant on the lease[,]” and,

consequently, “Marshall failed to show that had his trial counsel obtained the lease

it would have, in fact, established that Tonya was no longer listed as a tenant on the

lease.” Marshall v. State, 182 So. 3d at 587. Moreover, even with the lease or

evidence of it, suppression of the confession is not automatic. Generally, “a

confession obtained through custodial interrogation after an illegal arrest should be

excluded unless intervening events break the causal connection between the illegal

arrest and the confession so that the confession is ‘sufficiently an act of free will to

purge the primary taint.’” Taylor v. Alabama, 457 U.S. 687, 690 (1982). Stated

differently, suppression of Marshall’s confession as “fruit of the poisonous tree . . .

[would] depend[] on whether the subsequent evidence to which instant objection is

made has been come at by exploitation of that illegality or instead by means

sufficiently distinguishable to be purged of the primary taint.” United States v.

Cordova, 829 F. Supp. 2d 1342, 1348–49 (N.D. Ga. 2011) (citing Brown v. Illinois,

422 U.S. 590, 603 (1975)). Courts examine a variety of factors to assess whether

evidence is obtained by exploitation, including Miranda warnings, “the temporal

proximity of the arrest and the confession, the presence of intervening

circumstances, and, particularly, the purpose and flagrancy of the official

misconduct.” Id. Finally, “[i]n determining whether there is a nexus between the


                                           88
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 89 of 114




evidence in question and the police conduct, [the] inquiry is essentially a common

sense evaluation of the facts and circumstances of the particular case.” United States

v. Kapperman, 764 F.2d 786, 793 (11th Cir. 1985).

      Here again, Marshall would necessarily fail to establish prejudice because he

cannot show that suppressing the search would necessarily have excluded the

introduction of his confession. As the ACCA noted:

      Here, if we were to consider Marshall to have been arrested from the
      time police entered his apartment and handcuffed him on the evening
      of December 28, 2004, then his confession was given some 30 hours
      later—the night of December 29 or the earliest morning hours of
      December 30. Several crucial intervening circumstances took place in
      that time. Marshall was advised of his Miranda rights before leaving
      the apartment. He spoke with Detective O’Connor at O’Connor’s office
      after once again being advised of his rights and executing a waiver of
      those rights. It was undisputed that O’Connor offered to drive Marshall
      back to his apartment. Detective O’Connor also gave Marshall the
      option of staying at the Vestavia City Hall that night, because the doors
      to Marshall’s apartment had been broken when the police entered the
      apartment. Police continued an independent investigation into Alicia’s
      disappearance and discovered her clothing, her purse and the comforter
      from her bed, which had been discarded near Marshall’s apartment.
      From the evidence, police were able to obtain a kidnapping warrant for
      Marshall’s arrest the morning of December 29. When FBI agents
      questioned Marshall, they, too, advised him of his rights and had him
      sign an acknowledgment that he understood those rights. All of these
      facts, taken together, provide sufficient intervening circumstances that
      would have broken the causal connection between the allegedly illegal
      arrest and Marshall's confession.

Marshall v. State, 992 So. 2d 762, 769–70 (Ala. Crim. App. 2007).




                                          89
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 90 of 114




      Put simply, Marshall cannot establish the merits of his Fourth Amendment

claim or satisfy the prejudice prong of Strickland. The ACCA reasonably applied

the law on this matter, and Marshall’s claim is due to be dismissed.

      To close, the alleged ineffective assistance claims are due to be denied except

for the claim related to the failure to present available mitigation evidence at the

penalty phase.

                                          B.

      Marshall contends in Claim B that four alleged instances of juror misconduct

compromised his right to a fair trial, citing to three jurors’ alleged dishonesty during

voir dire and that some jurors introduced extraneous information to the deliberations.

Doc. 7 at 39-51. No relief is warranted based on these contentions.

                                           1.

      As it relates to juror dishonesty during voir dire, “to obtain a new trial . . . a

party must first demonstrate that a juror failed to answer honestly a material question

. . . and then further show that a correct response would have provided a valid basis

for a challenge for cause.” McDonough Power Equip., Inc. v. Greenwood, 464 U.S.

548, 556 (1984). The first prong requires a determination of whether the juror

answered honestly or was aware of the falsity of his or her answers. Id. The second

prong asks whether a correct response would provide a valid basis for a cause

challenge and a showing of actual bias because of the juror’s nondisclosure. United


                                           90
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 91 of 114




States v. Burke, 724 F. App’x 837, 839 (11th Cir. 2018). “Bias may be shown either

by express admission or by proof of specific facts showing such a close connection

to the circumstances at hand that bias must be presumed.” Id. (citing United States

v. Carpa, 271 F.3d 962, 967 (11th Cir. 2001). In determining whether a defendant

was prejudiced, Alabama courts have looked at the following factors: “temporal

remoteness of the matter inquired about, the ambiguity of the question propounded,

the prospective juror’s inadvertence or willfulness in falsifying or failing to answer,

the failure of the juror to recollect, and the materiality of the matter inquired about.”

Ex parte Dobyne, 805 So. 2d 763, 772 (Ala. 2001).

                                                  a.

        Marshall contends that Juror M.J. failed to truthfully answer a question about

being a victim of violence and that, if she had, his counsel would have struck her for

cause. Doc. 7 at 42-44. 46 The ACCA rejected this claim based on the ambiguity of

the question and M.J.’s honest belief that it did not apply to her situation:

       Juror M.J. testified that she remembered being asked the above-listed
       questions and that she did not respond to them. With regard to the
       question about being the victim of a crime, juror M.J. explained that
       when she “thought of a crime[, she] thought of being burglarized, or
       having something stolen from [her] car. [She] just didn’t equate the
       46
           Marshall alleges M.J. deliberately failed to answer the following questions: “Do any of
the you have a bias or prejudice that would influence your verdict . . . in any way? . . . Do you
have any reason why you could not give both the State of Alabama and the defendant . . . a fair
and impartial trial? . . . If anyone has been the victim of a violent crime . . . Anyone a victim? . . .
Is there anybody here who feels like for whatever reason . . . you won’t be able to render a fair and
impartial verdict in this case? You won’t be able to sit as a fair and impartial juror? . . . Do you
feel you might require less proof than a case which did not involve violence?”

                                                  91
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 92 of 114




      term ‘crime’ with the domestic situation.” (R2. 30–31.) Juror M.J.
      further stated that she believed that the “closest” thing to a crime
      involving her first husband was when she believed that he had
      discharged a firearm after an altercation with her. Juror M.J. explained
      that she did not answer the question because she did not believe that her
      first husband had committed a crime. Juror M.J. further explained that
      if an attorney had asked “if [she] had been in an abusive relationship,
      [she] certainly would have said yes.” (R2. 33.)
      On cross-examination, juror M.J. testified that she did not have any bias
      against Marshall and that she had made her decision based on the facts
      and the evidence that she heard at trial.
      Although juror M.J. failed to respond to the above-listed questions, the
      matter inquired about during voir dire—i.e., whether juror M.J. was a
      victim of a crime—occurred approximately 35 years before Marshall’s
      trial; juror M.J. did not consider what happened to her to, in fact, be a
      crime; and juror M.J. stated that had she been asked whether she had
      been subject to spousal abuse she would have responded to the
      question. In other words, the matter inquired about was remote, the
      question propounded was, in juror M.J.’s mind, ambiguous, and juror
      M.J. did not willfully fail to answer the question.

Marshall v. State, 182 So. 3d at 610–11.

      Marshall argues that the ACCA should have inferred that M.J. deliberately

chose not to disclose the matter for two reasons: (1) her admission at the Rule 32

hearing that she recalled the abuse she had experienced often during Marshall’s trial

and (2) that M.J. was present when another member of the panel stated she was a

victim of crime due to her experience with spousal abuse. Doc. 7 at 42-44. While a

reasonable jurist could have found that M.J. deliberately declined to disclose her

status as a victim of crime, and further that this disclosure would have likely resulted

in her exclusion for cause, see McDonough, 464 U.S. at 554, Marshall’s evidence

and proposed inferences are not so persuasive that no reasonable jurist could have
                                           92
        Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 93 of 114




found otherwise. The McDonough bar is high and not easily met by a mere failure

to answer voir dire questions. See, e.g. United States v. Perkins, 748 F.2d 1519,

1532-33 (11th Cir. 1984). The ACCA considered the temporal remoteness of M.J.’s

victimhood and her own attestations of her unbiased approach to the case to find that

Marshall did not pass the first bar of proving dishonesty, thereby properly applying

the Dobyne factors. Accordingly, because fairminded jurists can disagree on this

issue, Marshall cannot succeed on this claim.

                                                 b.

       Marshall contends that Juror T.C. failed to disclose his involvement in a

program supporting and fostering sexually abused children. Doc. 7 at 42.47 Marshall

argues that his counsel would have “certainly” stricken T.C. for cause if T.C. had

disclosed this information. Id. at 48. In contrast to Marshall’s description, the Rule

32 court offered a more nuanced version of T.C.’s involvement with the program:

               Juror T.C. testified that he recalled being asked the above-listed
               questions, that he understood the questions, that the questions
               were not ambiguous, and that he did not respond to the questions
               because, he said, he “didn’t see any connection with those
               questions . . . and [his] experience with the foster care program.”
               (Vol. 36 at 73.) . . . On cross-examination, juror T.C. testified
               that he based his decision in both the guilt phase and penalty

       47
          The questions Marshall alleges T.C. deliberately declined to answer were: “Do any of
the you have a bias or prejudice that would influence your verdict . . . in any way? . . . Do you
have any reason why you could not give both the State of Alabama and the defendant . . . a fair
and impartial trial? . . . Is there anybody here who feels like for whatever reason . . . you won’t be
able to render a fair and impartial verdict in this case? You won’t be able to sit as a fair and
impartial juror?”

                                                 93
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 94 of 114




             phase of trial on the evidence presented and the instructions
             given by the trial court. Juror T.C. also testified that he did not
             have any bias against Marshall; specifically, juror T.C. stated that
             he “did not know Mr. Marshall before this, or did not have
             anything against him.” [Vol. 36 at 85.] Although juror T.C. failed
             to respond to the question inquiring about whether potential
             jurors had children, at the time of trial juror T.C. had no children
             living in his home. That question, therefore, did not apply to him,
             and he did not engage in misconduct when he did not respond.
             Additionally, with regard to the questions asked about general
             bias, juror T.C. testified that he did not believe that his
             participation in foster-care classes had any connection with the
             above-listed questions. Thus, juror T.C. did not willfully fail to
             answer the above-listed questions.

Marshall v. State, 182 So. 3d at 612.

       No relief is warranted on this claim. The voir dire questions at issue did not

directly relate to T.C.’s work with foster children. The questions asked him instead

to make a subjective assessment about whether he could be fair and unbiased. See

doc. 7 at 42. The ACCA reasonably found that T.C. was not dishonest in failing to

respond to the questions, and simply believed instead that his experience was not

relevant to the questions. Moreover, even if Marshall could demonstrate T.C.

engaged in misconduct, the ACCA reasonably found that T.C.’s foster work

experience did not prejudice the verdict. T.C. testified at the Rule 32 hearing that he

based his decision “on the evidence that was presented in court,” Vol. 36 at 84, and

that he “followed the evidence of what was being presented here … where it was

found that [Marshall] had admitted, you know, the death, and you know, had taken

the sheriffs or the authorities to Shelby County where the body was found,” id. at
                                          94
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 95 of 114




84-85. There is nothing in the record to dispute this testimony. Accordingly, the

ACCA acted reasonably in denying Marshall’s claim that T.C. engaged in

prejudicial juror misconduct.

                                           c.

      Marshall challenges next Juror W.P.’s failure to disclose that he was legally

blind. Doc. 7 at 46-47. W.P. wears strong magnifying glasses and is unable to drive

because he cannot see red lights or stop signs with his glasses. Vol. 36 at 90-95.

And, at the time of the trial, W.P. routinely used a round magnifying glass to read

items at hands length. Id. at 97. During voir dire, counsel asked the panel if any of

them had personal or other reasons that might cause them not to render a fair and

impartial verdict. Doc. 7 at 42. W.P. did not volunteer his visual impairments in

response, and during the trial, W.P. sat the furthest from the witness box and could

not see the witnesses, facial expressions, or the evidence presented. Vol. 36 at 97.

W.P. also did not use his magnifying glass to review exhibits because he was

embarrassed, opting to use his glasses alone. Id.

      To support his contention that W.P. deliberately chose to hide his vision

impairments, Marshall argues another member of the panel disclosed a hearing issue

in response to a question about reasons to doubt his qualifications as a juror. Doc. 7

at 46. Marshall asks the court to infer that this juxtaposition with a similarly situated

juror shows that W.P. deliberately chose to stay silent. But, again, the questions


                                           95
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 96 of 114




Marshall claims W.P. evaded were vague in their connection to W.P.’s vision

problems. See doc. 7 at 42. Counsel asked the panel whether they had any reasons

they believed would compromise their ability to be fair and impartial or if they had

any personal circumstances that caused them to not want to serve as a juror. Id. At

Marshall’s Rule 32 hearing, W.P. stated that he did not view his vision problems as

a “big problem.” Vol. 45, Tab 65 at 37-38. When asked if he would have responded

affirmatively to a question specifically asking the panel whether they “ha[d] a

physical disability or infirmity which would affect [their] review of the evidence,”

W.P. responded that he believed he would have “spoken up about [his] vision.” Vol.

36 at 104. Based on these responses, the ACCA found that W.P.’s failure to respond

was not “willful,” and that he “simply believed that he could serve as a juror.” Vol.

45, Tab 65 at 50. The record supports the ACCA’s finding.

      But even assuming W.P. acted dishonesty, “not every failure to respond

properly to questions on voir dire automatically entitles the defendant to a new trial

. . . [Rather,] the proper standard to apply in determining whether a party is entitled

to a new trial . . . is whether the defendant might have been prejudiced.” Vol. 45,

Tab 65 at 46 (citations and quotation marks omitted). Marshall must demonstrate

“proof of actual bias” which “may be shown either by express admission or by proof

of specific facts showing such a close connection to the circumstances at hand that

bias must be presumed.” United States v. Burke, 724 F. App'x 837, 839 (11th Cir.


                                          96
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 97 of 114




2018) (citing Bank Atlantic v. Blythe Eastman Paine Webber, Inc., 955 F.2d 1467,

1473 (11th Cir. 1992)). Ultimately, district courts are not obligated to investigate

allegations   of   juror   misconduct    absent   “clear, strong,     substantial   and

incontrovertible evidence” that the jury committed an impropriety that might

undermine the verdict. United States v. Cuthel, 903 F.2d 1381, 1383 (11th Cir. 1990)

(internal quotation marks omitted).

      The record belies contention that W.P.’s “physical impairment . . . impeded

his ability to evaluate the evidence.” Doc. 17 at 45. To begin, W.P. claimed that he

made his decision in both the guilt and penalty phases of the trial based “on the facts

and the evidence and the law that the judge explained,” that his vision problems did

not “cause him to be biased against [Marshall] in any way,” and that “[t]he guilty

part was not in question . . . the sentencing was what [he] was concerned about.”

Vol. 36 at 107. And W.P. testified that he “voted to give [Marshall] life,” id.,

meaning he was the sole juror who voted to spare Marshall’s life, and Marshall

offered nothing to rebut this testimony. Moreover, even if W.P. had disclosed his

vision impairment, Marshall’s trial counsel would not have removed W.P. from the

jury. “Marshall’s trial counsel testified that if he knew a potential juror had a vision

problem he ‘would leave them on’ the jury because, he said, ‘most of the evidence

is going to be coming from the State. Hell, if the juror can’t see it, he can’t use it

against [Marshall]. Leave them on there. I’d like for them to be deaf, too.’” Marshall


                                           97
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 98 of 114




v. State, 182 So. 3d at 613 (quoting Vol. 36 at 187). Put simply, Marshall cannot

demonstrate that W.P. intentionally failed to disclose his disability, that the failure

caused prejudice, or would have resulted in a cause challenge.

      To close, Marshall’s alleged juror misconduct claim related to the voir dire

fails. The ACCA accurately applied the law and found a reasonable basis for denying

Marshall’s claims: (1) counsel did not directly ask M.J. a question to elicit her

experience with domestic violence; (2) counsel would have kept W.P. on the jury

despite his vision disability; and (3) T.C. did not find his experience with Alabama

foster care programs relevant to his ability to view the evidence impartially.

Moreover, “it ill serves the important end of finality to wipe the slate clean simply

to recreate the peremptory challenge process because counsel lacked an item of

information which objectively he should have obtained from a juror on voir dire

examination.” Greenwood, 464 U.S. at 555. Therefore, relief is denied on these

issues.

                                          2.

      Marshall’s final claim related to the jury is based on his contention that the

jury relied on extraneous information in their deliberations. Doc. 7 at 50. In

particular, Marshall cites to M.J.’s contention that she and another female juror




                                          98
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 99 of 114




explained to a male juror that, based on their own life experiences, masturbation

could not have caused the vaginal tear found on the victim. Id. 48

       Though “[p]ost-verdict inquiries into the existence of impermissible

extraneous influences on a jury’s deliberations are allowed under appropriate

circumstances, . . . inquiries that seek to probe mental processes of jurors are

impermissible.” United States v. Ayarza–Garcia, 819 F.2d 1043, 1051 (11th

Cir.), cert. denied, 484 U.S. 969 (1987) (citations omitted). Consequently, courts are

required to “disregard the portions of the affidavits dealing with forbidden testimony

under Federal Rule of Evidence 606(b).” 49 United States v. Siegelman, 467 F. Supp.

2d 1253, 1272 (M.D. Ala. 2006). Relevant here, the Rule 32 court noted that

       48
         The Rule 32 court did not allow M.J. to testify about the deliberations, Marshall contends
M.J. would have testified “(i) an elderly male juror asked whether the vaginal tear could have been
caused by masturbation; (ii) M.J. and another female juror replied that the vaginal tear could not
have been caused by masturbation; and (iii) M.J.’s response that the vaginal tear could not have
been caused by masturbation was based on her general life experiences.” Vol. 36 at 39, 333–34.
       49
            Rule 606(b) states that:
       (a) At the Trial. A juror may not testify as a witness before the other jurors at the trial. If a
       juror is called to testify, the court must give a party an opportunity to object outside the
       jury’s presence.
       (b) During an Inquiry into the Validity of a Verdict or Indictment.
                 (1) Prohibited Testimony or Other Evidence. During an inquiry into the validity of
                 a verdict or indictment, a juror may not testify about any statement made or incident
                 that occurred during the jury’s deliberations; the effect of anything on that juror’s
                 or another juror’s vote; or any juror’s mental processes concerning the verdict or
                 indictment. The court may not receive a juror’s affidavit or evidence of a juror’s
                 statement on these matters.
                 (2) Exceptions. A juror may testify about whether: (A) extraneous prejudicial
                 information was improperly brought to the jury’s attention; (B) an outside influence
                 was improperly brought to bear on any juror; or (C) a mistake was made in entering
                 the verdict on the verdict form.

                                                  99
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 100 of 114




Alabama courts have found that jurors relied on extraneous information only in a

limited number of cases, citing a

      distinction, under Alabama law, between “extraneous facts,” the
      consideration of which by a jury or jurors may be sufficient to impeach
      a verdict, and the “debates and discussions of the jury,” which are
      protected from inquiry. This Court’s cases provide examples of
      extraneous facts. This Court has determined that it is impermissible for
      jurors to define terms, particularly legal terms, by using a dictionary or
      encyclopedia. See Fulton v. Callahan, 621 So. 2d 1235 (Ala.1993);
      Pearson v. Fomby, 688 So. 2d 239 (Ala.1997). Another example of
      juror misconduct leading to the introduction of extraneous facts
      sufficient to impeach a jury verdict is an unauthorized visit by jurors to
      the scene of an automobile accident, Whitten v. Allstate Ins. Co., 447
      So. 2d 655 (Ala.1984), or to the scene of a crime, Dawson v. State, 710
      So. 2d 472 (Ala.1997).
      The problem characteristic in each of these cases is the extraneous
      nature of the fact introduced to or considered by the jury. The improper
      matter someone argues the jury considered must have been obtained by
      the jury or introduced to it by some process outside the scope of the
      trial. Otherwise, matters that the jurors bring up in their deliberations
      are simply not improper under Alabama law, because the law protects
      debates and discussions of jurors and statements they make while
      deliberating their decision. CSX Transp. v. Dansby, 659 So. 2d 35
      (Ala.1995). This Court has also noted that the debates and discussions
      of the jury . . . are not extraneous facts that would provide an exception
      to the general rule of exclusion of juror affidavits to impeach the
      verdict. Weekley v. Horn, 263 Ala. 364, 82 So. 2d 341 (1955) . . . [I]n
      order for information to come within the extraneous-information
      exception to Rule 606(b), the information must come to the jurors from
      some external authority or through some process outside the scope of
      the trial, either (1) during the trial or the jury's deliberations or (2)
      before the trial but for the purpose of influencing the particular trial . .
      . personal experience[] . . . is not extraneous information under the
      exception to Rule 606(b).

Marshall v. State, 182 So. 3d 573, 617-18 (Ala. Crim. App. 2014). The ACCA

reasonably found that M.J.’s statements reflect the debate and discussions of the
                                          100
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 101 of 114




jurors for deliberation rather than extraneous information not presented in the trial.

And, the court did not err in excluding the testimony and rejecting the contention of

juror misconduct. Id. at 615–16. 50

                                                C.

       Marshall alleges in Claim C that Alabama’s lethal injection protocol “creates

a demonstrated risk of severe pain [that is] constitutionally unacceptable [and]

excessive and substantial when compared to known and available alternative

methods of execution.” Doc. 7 at 50-51. The Respondent contends that Marshall

failed to exhaust this claim because he first raised it in his 2014 petition for certiorari.

Docs. 11 at 23; 12 at 41-42. Marshall replies that the claim is not defaulted because

the lethal injection protocol changed in September 2014, and his claim “did not

accrue until after [his] Rule 32 hearing and the proceedings in the Court of Criminal

Appeals . . .” Doc. 17 at 49. But Marshall provides no further explanation for his

contention, and it is unclear to the court which procedural default exception he is


       50
         At the Rule 32 evidentiary hearing, the court engaged in the following discussion with
Marshall’s counsel:
        [The Court]: I don’t see that as extraneous in the sense of somebody going out and
       looking in a medical book and bringing it back.
       [Marshall’s Rule 32 Counsel]: Or calling your doctor friend.
       [The Court]: Exactly. If you had testimony of that, that’s different . . . You know, I
       tried 20 years worth of sexual assault cases as a prosecutor and talked to jurors after
       the fact, and those kind of things do come up. I disagree with you and I will sustain
       your objection.
Vol. 45, Tab 65 at 52.

                                                101
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 102 of 114




invoking. See Edwards, 529 U.S. at 455. In light of Marshall’s failure to adequately

argue his procedural default position, this court finds he failed to exhaust this claim.

      Alternatively, this claim fails on the merits. “Federal habeas corpus law exists

to provide a prisoner an avenue to attack the fact or duration of physical

imprisonment and to obtain immediate or speedier release,” Valle v. Sec’y, Fla.

Dep’t of Corr., 654 F.3d 1266, 1267 (11th Cir. 2011). When a death row inmate

challenges a state’s execution protocol, he attacks “the means by which the state

intends to execute him, which is a circumstance of his confinement.” McNabb v.

Comm’r, Ala. Dep’t of Corr., 727 F.3d 1334, 1344 (11th Cir. 2013) (citing

Hutcherson v. Riley, 468 F.3d 750, 754 (11th Cir. 2006)). “Issues sounding in habeas

are mutually exclusive from those sounding in a § 1983 action.” Id. Therefore, “[a]

§ 1983 lawsuit, not a habeas proceeding, is the proper way to challenge lethal

injection procedures.” Id. (citing Tompkins v. Sec’y, Dep’t of Corr., 557 F.3d 1257,

1261 (11th Cir. 2009)). Because Claim C “does not attack the validity of [his]

conviction or death sentence,” Glossip v. Gross, 135 S. Ct. 2726, 2738 (2015), it is

due to be denied.

                                          D.

      Marshall asserts in Claim D that Alabama’s lethal injection protocol is

unconstitutional because “his sentence to die is based on an advisory jury verdict

that was not unanimous.” Doc. 7 at 51. As Marshall puts it, allowing a death sentence


                                          102
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 103 of 114




based on a non-unanimous jury recommendation violates his Sixth Amendment right

to a trial by jury. Id. at 52. In support of his proposition, Marshall cites Ring v.

Arizona, 536 U.S. 584, 588-89 (2002) and Apprendi v. New Jersey, 530 U.S. 466

(2000). However, Marshall fails to provide any analysis as to how these cases

support his position. Id. at 51. Instead, Marshall only quotes Justice Scalia’s

concurrence in Ring bemoaning the decline of the right of trial by jury and the

practice of “a judge [finding] that an aggravating factor existed.” Id. at 52 (citing

Ring, 536 U.S. at 612) (emphasis in original). The concurrence is not helpful.

                                                  1.

       Marshall raised this issue for the first time in his Rule 32 proceedings, 51 doc.

13, Vol. 10, Tab 41 at 133-34; Vol. 44, Tab 61 at 145-47, citing Ring and Apprendi

to argue that because the jury’s recommendation of death was not unanimous and

because “it is impossible to determine whether the jury found [any aggravating

circumstance] beyond a reasonable doubt,” doc. 13, Vol. 10, Tab 41 at 133, the

“procedural safeguards were absent [and] Marshall’s death sentence violat[ed] the



       51
           On direct appeal, Marshall did not address the constitutionality of the State’s capital
sentence structure in his brief to the ACCA. Doc. 13, Vol. 8, Tab 29 at 2-50. Instead, his first attack
with any relation to the sentencing scheme arises in his petition for certiorari to the Alabama
Supreme Court, in which he challenges the then-extant judicial override provision: “the statutory
scheme for capital murder prosecutions in Alabama provides for judicial override of the verdict of
a trial jury [which] adversely affected the jury’s role in the sentencing process and . . . denied
[Marshall’s] constitutional rights under the Fifth, Sixth, Eighth and Fourteenth Amendments.”
Doc. 13, Vol. 9, Tab 34 at 13-14. The Court denied Marshall’s petition and did not reach the merits
of his arguments. Doc. 13, Vol. 9, Tab 35 at 66.

                                                 103
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 104 of 114




Fifth, Sixth, Eighth, and Fourteenth Amendments,” id. at 134. While declining to

address specifically the merits of the unanimity argument, the ACCA denied

Marshall’s broader claim that Alabama’s capital sentencing scheme violated the

United States Constitution. Doc. 13, Vol. 45, Tab 65 at 40 (citing Ex parte Waldrop,

859 So. 2d 1181, 1190 (Ala. 2002) (“Ring and Apprendi do not require that a jury

weigh the aggravating circumstances and the mitigating circumstances.”)). The court

held that the Rule 32 trial court properly dismissed Marshall’s claim because

“Marshall could have, but did not, challenge the constitutionality of Alabama’s

capital sentencing scheme on [direct] appeal.” Doc. 13, Vol. 45, Tab 65 at 40.

Indeed, because Marshall failed to raise his claim in his direct appeal, the ACCA

reasonably found that it is preempted, and it is due to be denied.

                                          2.

      Alternatively, the claim fails on the merits. The holdings in Apprendi and Ring

are more limiting than Marshall contends. Apprendi held that “[o]ther than the fact

of a prior conviction, any fact that increases the penalty for a crime beyond the

prescribed statutory maximum must be submitted to a jury, and proved beyond a

reasonable doubt.” Apprendi, 530 U.S. at 490. And Ring applied Apprendi to the

death penalty context, holding that because aggravating circumstances are used to

justify increasing a defendant’s maximum punishment from life imprisonment

without parole to death, these circumstances are “the functional equivalent of an


                                         104
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 105 of 114




element of a greater offense,” and must be found by a jury rather than a judge. Ring,

536 U.S. at 609. Thereafter, the Court applied Ring to find Florida’s capital

sentencing scheme violated the Sixth Amendment right to an impartial jury by

“requir[ing] the judge alone to find the existence of an aggravating circumstance.”

Hurst v. Florida, 136 S. Ct. 616, 624 (2016). 52

        Alabama’s capital sentencing scheme at the time of Marshall’s direct appeal

mirrored Florida’s pre-Hurst scheme: the sentencing phase required the jury to “hear

the evidence and arguments of both parties, deliberate, and return an advisory verdict

recommending either life imprisonment without parole (if it determined that no

aggravating circumstances existed, or that the aggravating circumstances did not

outweigh the mitigating circumstances) or death (if it determined that one or more

aggravating circumstances existed, and that they outweighed the mitigating



       52
            Under Florida’s pre-Hurst capital sentencing scheme, the sentencing judge held an
evidentiary hearing, after which the jury would propose by majority vote an “advisory sentence”
without divulging the factual basis for their recommendation. 136 S. Ct. at 620 (citations and
quotation marks omitted). The sentencing judge would then independently weigh the aggravating
and mitigating circumstances and impose a sentence “notwithstanding the recommendation of the
jury.” Id. (citations and quotation marks omitted). Though the scheme required that the judge give
“great weight” to the jury’s recommendation, the sentence was “the trial judge’s independent
judgment.” Id. (citations and quotation marks omitted). The Supreme Court held that the Sixth
Amendment right to an impartial jury requires that a “death sentence [be based] on a jury’s verdict,
not a judge’s factfinding” and that by allowing “the judge alone to find the existence of an
aggravating circumstance,” the Florida scheme was unconstitutional. Id. at 624.
        Because the Supreme Court decided Hurst after Marshall’s conviction became final on
direct appeal, the court considers Hurst “only to the extent it reflects an application and explication
of the Supreme Court’s holding in Ring.” Waldrop v. Comm’r, Alabama Dep’t of Corr., 711 F.
App’x 900, 923 n.6 (11th Cir. 2017).

                                                 105
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 106 of 114




circumstances).” Waldrop v. Comm’r, Alabama Dep’t of Corr., 711 F. App’x at 922

(citing the pre-2017 version of Ala. Code § 13A-5-46(e)). 53 The trial judge would

then “independently determine the appropriate sentence.” Id. (citing the pre-2017 §

13A-5-47(e)). The trial court could impose the death sentence “notwithstanding a

contrary jury recommendation” so long as “the court found that at least one

aggravating circumstance existed, and that they outweighed any mitigating

circumstances.” Id. (citing the pre-2017 § 13A-5-47(e)).

       A death sentence in Alabama required that “at least one aggravating

circumstance as defined in 13A-5-49 [must] exist[].” 54 Ala. Code § 13A-5-45(f).

When a defendant is convicted of a capital offense for which one of the enumerated

aggravating circumstances is an element, “any aggravating circumstance which the

verdict convicting the defendant establishes was proven beyond a reasonable doubt

at trial shall be considered as proven beyond a reasonable doubt for purposes of the

       53
          Alabama amended its capital sentencing scheme in 2017, see S.B. 16, 2017 Leg., Reg.
Sess. (Ala. 2017), making the jury’s sentencing recommendation binding on the court. See Ala.
Code § 13-A-5-47(a) (2017) (“Where a sentence of death is not returned by the jury, the court shall
sentence the defendant to life imprisonment without parole.”).
       54
         These aggravating circumstances include the two capital offenses of which Marshall was
convicted:
       (1) The capital offense was committed by a person under sentence of imprisonment.
       (2) The defendant was previously convicted of another capital offense or a felony
       involving the use or threat of violence to the person . . .
       (4) The capital offense was committed while the defendant was engaged or was an
       accomplice in the commission of, or an attempt to commit, or flight after
       committing, or attempting to commit, rape, robbery, burglary, or kidnapping.
Ala. Code § 13A-5-49.

                                               106
         Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 107 of 114




sentencing hearing.” Ala. Code § 13A-5-45(e); see Ex Parte McNabb, 887 So. 2d

998, 1006 (Ala. 2004) (holding that even a nonunanimous recommendation of death

proved the jury had unanimously found an aggravating factor, and this finding “is

sufficient to satisfy Ring.”). And, “[t]he decision of the jury to recommend a

sentence of death must be based on a vote of at least 10 jurors.” Ala. Code § 13A-5-

46(f).

         Marshall contends that Ring and Apprendi required a unanimous

recommendation of death by a jury. Doc. 7 at 51. The ACCA disagreed and denied

Marshall’s broader contention that Alabama’s capital sentencing scheme violated

the United States Constitution. Doc. 13, Vol. 45, Tab 65 at 40 (citing Ex parte

Waldrop, 859 So. 2d 1181, 1190 (Ala. 2002) (“Ring and Apprendi do not require

that     a    jury weigh     the   aggravating circumstances            and    the   mitigating

circumstances.”)).55 This conclusion is not “so unreasonable that no ‘fairminded

jurist’ could agree with the conclusion.” Waldrop, 711 F. App’x at 923 (citing


         55
          Alabama courts have upheld the Alabama scheme after Hurst. See Ex Parte Bohannon,
222 So. 3d 525, 533 (Ala. 2016) (“Our reading of Apprendi, Ring, and Hurst leads us to the
conclusion that Alabama's capital-sentencing scheme is consistent with the Sixth Amendment.”);
see also Creque v. State, 272 So. 3d 659, 730 (Ala. Crim. App. 2018) (rejecting a defendant’s
constitutional challenge to Alabama’s allowance of juries to recommend death based on a non-
unanimous verdict); Gobble v. State, 104 So. 3d 920, 977 (Ala. Crim. App. 2010) (“Ring does not
require a unanimous recommendation for the death penalty before a defendant may be sentenced
to death”). And, in Waldrop, the Eleventh Circuit indicated the Alabama Supreme Court’s holding
was consistent with Hurst because the jury, not the judge, found the aggravating circumstance.
Waldrop, 711 F. App’x at 924 (“the Sixth Amendment does not allow the trial court to find an
aggravating circumstance, independent of a jury’s factfinding, that is necessary for imposition of
the death penalty”) (citations and quotation marks omitted).

                                               107
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 108 of 114




Harrington v. Richter, 562 U.S. 86, 101 (2011)). In fact, the same concurrence from

Justice Scalia that Marshall cites supports the ACCA’s holding: “the jury must find

. . . that an aggravating factor existed. Those [s]tates that leave the ultimate life-or-

death decision to the judge may continue to do so – by requiring a prior jury finding

of aggravating factor in the sentencing phase or, more simply, by placing the

aggravating-factor determination (where it logically belongs anyway) in the guilt

phase.” Ring, 536 U.S. at 612-13. And “[n]othing in Ring – or any other Supreme

Court decision – forbids the use of an aggravating circumstance implicit in a jury’s

verdict.” Lee v. Comm’r, Alabama Dept. of Corr., 726 F.3d 1172, 1198 (11th Cir.

2013).

      Marshall’s jury unanimously found him guilty of two capital offenses, murder

while committing burglary in the first degree and murder while committing sexual

abuse in the second degree, during the guilt-phase of the trial. Doc. 13, Vol. 6, Tab

15 at 734-36. Both of these offenses contain an aggravating circumstance as defined

by Alabama Code § 13A-5-49.56 Therefore, Marshall’s jury unanimously found the

facts that made him death-eligible beyond a reasonable doubt. At the conclusion of

the sentencing hearing, eleven members of the jury recommended death and one

recommended life imprisonment without the possibility of parole. Doc. 13, Vol. 7,

Tab 23 at 799. The ACCA’s rejection of Marshall’s Ring and Apprendi claims was

      56
           See n. 54 supra.

                                          108
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 109 of 114




not an unreasonable application of either case. Thus, Marshall is not entitled to relief

on Claim D.

                                          E.

      Marshall asserts in Claim E that Alabama’s lethal injection protocol is

unconstitutional because “the death penalty itself is cruel and unusual punishment,”

based on its purported “serious unreliability, . . . arbitrariness . . ., and . . .

unconscionably long delays[.]” Doc. 7 at 52-53 (citations omitted). But, the Supreme

Court has held that “capital punishment is constitutional.” Baze v. Rees, 553 U.S.

35, 47 (2008) (citing Gregg v. Georgia, 428 U.S. 153, 187 (1976) (“We hold that

the death penalty is not a form of punishment that may never be imposed, regardless

of the circumstances of the offense, regardless of the character of the offender, and

regardless of the procedure followed in reaching the decision to impose it.”)).

Therefore, Claim E is due to be denied.

                                          F.

      Finally, Marshall asserts in Claim F that the prosecution violated his Due

Process rights under the Fourteenth Amendment by withholding favorable material

evidence in violation of Brady v. Maryland, 373 U.S. 83 (1963). Allegedly, the State

withheld DNA testing from the victim and failed to disclose that fur-lined handcuffs

were found in Marshall’s nightstand before trial. Doc. 7 at 53-54. Marshall reasons

that “none of [the victim’s DNA] evidence could be linked to Marshall or the State


                                          109
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 110 of 114




would have talked about it at trial.” Id. He further states that had his counsel known

about the fur-lined handcuffs before trial, they could have developed an alternative

narrative to explain why Marshall had the cuffs in his possession. 57

                                               1.

       Before turning to the merits of these claims, the court considers whether

Marshall properly exhausted and presented these claims on direct appeal. The ACCA

found that the Rule 32 court properly deemed the Brady claims abandoned under

Rule 28(a)(10) of the Alabama Rules of Appellate Procedure. Vol. 46, Tab 45 at 57-

58. Indeed, Marshall did not raise Brady claims in his direct appeal. See Vol. 8, Tab

29, 31, 32; Vol. 9, Tab 34. And, in his First Amended Rule 32 Petition and his

“Amendment” 58 to that petition, while Marshall outlines the legal framework

applicable to a Brady claim and alleges some related facts in his case, he failed to

apply the law to the facts to support his contention of a Brady violation. See Vol. 10,

Tab 42 at 197-99; Vol. 12, Tab 47 at 577-79. Moreover, a review of Marshall’s

appeal of the denial of his Rule 32 petition indicates that, like in his petition to this


       57
         Marshall claims his trial counsel would have argued Marshall had confiscated the cuffs
from the victim by linking the cuffs to a letter found in Marshall’s wallet from the victim to her
boyfriend in which she “refers to handcuffing her boyfriend.” Doc. 7 at 54
       58
          Marshall filed his original Rule 32 petition on April 23, 2009 and his First Amended
Rule 32 Petition on July 10, 2009. Vol. 14, Tab 56 at 982-83. The circuit court summarily
dismissed several claims in Marshall’s First Amended Petition and granted him leave to amend.
Id. Marshall filed an “Amendment” to his First Amended Petition on October 2, 2009. Id. The
circuit court and ACCA considered this “Amendment” in conjunction with Marshall’s First
Amended Petition. See generally id.; Vol. 45, Tab 65.

                                               110
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 111 of 114




court, he only cited to Brady in the argument heading but offered no explanation of

how the State purportedly withheld DNA testing of samples taken from the victim’s

body, results from the rape kit, and fur lined handcuffs found in Marshall’s

nightstand. Vol. 44, Tab 61, 153-54. “In order to satisfy Rule 28(a)(10) as to that

particular issue, [Marshall] was obliged to include in his appellate brief an adequate

recitation of facts relied on, citations to relevant legal authorities, and an analysis of

why those authorities support an argument of reversible error.” Taylor v. Dunn, 2018

WL 575670, at *17 (S.D. Ala. Jan. 25, 2018). Merely citing to Brady is not the same

thing as providing analysis as to why Brady supports his argument. Therefore, in

light of Marshall’s failure to explain in his Rule 32 brief how those items were both

exculpatory and material, the issue is not properly before this court for review.

                                           2.

      Alternatively, Marshall has failed to establish a Brady violation. Brady held

that “the suppression by the prosecution of evidence favorable to an accused upon

request violates due process where the evidence is material either to guilt or to

punishment, irrespective of the good faith or bad faith of the prosecution.” Brady,

373 U.S. at 87. To satisfy the materiality prong, Marshall must demonstrate “a

reasonable probability that, had the evidence been disclosed to the defense, the result

of the proceeding would have been different.” Boyd v. Comm’r, Ala. Dep’t of Corr.,

697 F.3d 1320, 1334 (11th Cir. 2012) (citations and quotation marks omitted).


                                           111
       Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 112 of 114




Assuming arguendo that the State indeed suppressed evidence about the DNA

samples and handcuffs, Marshall has failed to demonstrate “a reasonable probability

that, had the evidence been disclosed to the defense, the result of the proceeding

would have been different.” United States v. Bagley, 473 U.S. 667, 682 (1985).

Marshall must show that “in light of all of the evidence, including items untainted

by the Brady violation, it is reasonably possible that the jury would entertain a

reasonable doubt regarding [Marshall’s] guilt.” Maharaj v. Sec'y for Dep't of Corr.,

432 F.3d 1292, 1310 (11th Cir. 2005) (citations and quotation marks omitted). “The

question is not whether the defendant would more likely than not have received a

different verdict with the evidence, but whether in its absence he received a fair trial,

understood as a trial resulting in a verdict worthy of confidence.” Id. at 1316.

       Considering the DNA samples and the fur handcuffs individually, and then

collectively, 59 the court does not find that the absence of the items prohibited

Marshall from receiving a fair trial or a verdict worthy of confidence. Marshall

presents only conjecture—that the State suppressed the evidence, that his counsel

did not know it existed,60 that counsel could have used the evidence favorably had



       59
         See Maharaj, 432 F.3d at 1310 (stating that the district court “should consider each Brady
item individually, and only then making a determination about the cumulative impact.”).
       60
           Conjecture obviously does not establish that trial counsel did not know about this
evidence. Marshall has also failed to demonstrate that trial counsel was negligent in seeking this
evidence or was unaware of their existence. See generally doc. 7. And, “[w]here defendants, prior
to trial, had within their knowledge the information by which they could have ascertained the
                                               112
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 113 of 114




they known about it, and that these favorable arguments would have significantly

altered the case. See doc. 7 at 53-54; doc. 17 at 58. But the only indication Marshall

provides that the handcuffs were favorable to him is a claim that his counsel could

have prepared an alternative theory explaining their presence. Doc. 7 at 53. And

Marshall’s only argument regarding the purported favorability of the DNA evidence

is an inference that if the State could have linked it to Marshall, they would have. Id.

These contentions are insufficient.

       Finally, Marshall offers nothing to prove prejudice. Docs. 7 at 53-54; 17 at

58. In fact, based on the other evidence, whatever arguments Marshall’s counsel

made regarding the handcuffs and the DNA would not rise to a “reasonable

probability that, had the evidence been disclosed to the defense, the result of the

proceeding would have been different.” United States v. Bagley, 473 U.S. 667, 682

(1985). The State offered significant evidence of Marshall’s guilt—he confessed to

the murder; he led investigators to the body; the victim’s stolen belongings were

found outside of his home and near his workplace; and witnesses testified about his

absence at work and his presence near his ex-wife’s home on the day of the murder.

Vol. 45, Tab 65 at 23-24. At most, the allegedly suppressed evidence would have

provided counsel a couple more arguments to distance Marshall from the murder,




alleged Brady material, there is no suppression by the government.” United States v. Griggs, 713
F.2d 672, 674 (11th Cir.1983).
                                              113
      Case 2:15-cv-01694-AKK Document 60 Filed 10/23/20 Page 114 of 114




but it could not rise to the level of changing the guilty verdict. Therefore, because

Marshall provides nothing more than a mere citation and a conjecture to support his

Brady claims, Claim E is due to be denied as well.

                                         IV.

         For all these reasons, and after careful review, the court grants Marshall’s

petition for a writ of habeas corpus, doc. 7, as to his claim alleging ineffective

assistance of counsel at the penalty phase of his trial. A writ of habeas corpus shall

issue directing the State of Alabama to vacate and set aside the death sentence in

Marshall v. State, 992 So. 2d 762 (Ala. Crim. App. 2007), unless within 90 days of

this judgment’s entry, the State of Alabama initiates proceedings to retry Marshall’s

sentence. In the alternative, the State of Alabama shall re-sentence Marshall to life

without the possibility of parole. A separate order will be entered.

      DONE the 23rd day of October, 2020.


                                       _________________________________
                                       ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE




                                         114
